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9                            UNITED STATES DISTRICT COURT
10                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
11    ERNEST DEWAYNE JONES,                                 Case No. CV-09-2158-CJC
12               Petitioner,
                                                            DEATH PENALTY CASE
13            V.
14                                                          CORRECTED DATA USED IN
                                                            DECLARATION OF MICHAEL
15    KEVIN CHAPPELL, Warden of
                                                            LAURENCE IN SUPPORT OF
      California State Prison at San
16                                                          PETITIONER’S OPENING BRIEF
      Quentin,
17                                                          ON CLAIM 27
                          Respondent.
18                                                          Date:      July 16, 2014
19                                                          Time:      9:00 a.m.
                                                            Courtroom: 9B
20
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28
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       in Support Petitioner’s Opening Brief on Claim 27
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                                        judgment
      Robertson, Andrew Edward             5/31/1978
      Green, Charles Alan                  6/16/1978
      Frierson, Lavell                     8/14/1978
      Gzikowski, John                       9/8/1978
      Thompson, Maurice Seton              9/29/1978
      Stankewitz, Douglas Ray             10/12/1978
      Velasquez, Nick Ramon                1/31/1979
      Bell, Ronald Lee                      3/2/1979
      Harris, Robert Alton                  3/6/1979
      Jackson, Earl Lloyd                  3/19/1979
      Hogan, Carl David                     4/2/1979
      Lanphear, Ronald Eugene              4/11/1979
      Williams, Keith Daniel               4/13/1979
      Murtishaw, David Leslie              4/27/1979
      Lee, Chol Soo                        5/24/1979
      Massie, Robert Lee                   5/25/1979
      Chadd, Billy Lee                      6/6/1979
      Chase, Richard Trenton                6/8/1979
      Croy, Patrick Eugene                  8/2/1979
      Easley, Elbert Lee                    8/9/1979
      Fields, Stevie Lamar                 8/21/1979
      Haskett, Randy                       8/28/1979
      Mroczko, Richard John                9/13/1979
      Ghent, David Luther                 10/30/1979
      Montiel, Richard Galvan             11/20/1979
      Anderson, James Phillip             11/30/1979
      Reno (aka Memro, Harold Ray)         1/22/1980
      Ramos, Marcelino                     1/25/1980
      Ainsworth, Steven King               1/30/1980
      Frank, Theodore Francis               2/4/1980
      Phillips, Richard Louis Arnold       2/20/1980
      Ruiz, Alejandro Gilbert              2/21/1980
      Holt, Steven Vincent                 3/14/1980
      Ledesma, Fermin Rodriguez            3/14/1980
      Arcega, Vincent M., Jr.              3/31/1980
      Turner, Richard Dean                  4/7/1980
      Mattson, Michael Dee                 4/10/1980
      Mozingo, Ronny William               4/25/1980
      Moore, David Lee                     4/30/1980
      Alcala, Rodney James                 6/20/1980
      Joseph, Mariney                       7/8/1980
      Leach, Michael Todd                  7/11/1980


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                                     Date of death
                   Name
                                      judgment
      Turner, Melvin                      8/20/1980
      Frierson, Lavell                    8/26/1980
      Harris, Lee Edward                  8/27/1980
      Walker, Marvin Pete, Jr.             9/8/1980
      Boyd, Juan Anthony                 10/22/1980
      Guerra, Danny Montana              11/12/1980
      Griffin, Donald                    11/26/1980
      McDonald, Eddie Bobby              12/11/1980
      Smallwood, Ronald Jerome             1/9/1981
      Garrison, Richard William           1/16/1981
      Rich, Darrell Keith                 1/23/1981
      Bunyard, Jerry Thomas               1/30/1981
      Warren, Robert Gentry                2/5/1981
      Warren, Woodrow                      2/5/1981
      Hamilton, Bernard Lee                3/2/1981
      Armendariz, Joseph Mario            3/11/1981
      Bittaker, Lawrence Sigmond          3/24/1981
      Heishman, Harvey Lee, III           3/30/1981
      Kimble, Eric B.                      4/1/1981
      Balderas, David                     4/15/1981
      Williams, Stanley                   4/15/1981
      Myers, Venson Lane                  4/21/1981
      Bigelow, Jerry Douglas               5/8/1981
      McLain, Robert Cruz                 5/12/1981
      Whitt, Charles Edward               5/26/1981
      Chavez, Raymond Rudy                5/28/1981
      Johnson, Joe Edward                 5/28/1981
      Rodriguez, Luis Valenzuela           7/8/1981
      Bean, Anthony Cornell               7/20/1981
      Anderson, Stephen Wayne             7/24/1981
      Gonzalez, Jesse Edward              7/28/1981
      Gates, Oscar                         8/7/1981
      Hayes, John Westley                 8/20/1981
      Hale, Brian Darle                   8/24/1981
      Coleman, Calvin, Jr.                8/27/1981
      Louis, Vincent                      8/28/1981
      Burgener, Michael Ray               9/11/1981
      Hawkins, Ronald Chester             9/20/1981
      Hamilton, Billy Ray                10/16/1981
      Stankewitz, Laird Gene             10/23/1981
      Davenport, John Galen               11/4/1981
      Ratliff, James Monroe               11/5/1981
      Silbertson, Steven Clark           11/18/1981
      Coleman, Russell                   11/20/1981


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                                     Date of death
                   Name
                                      judgment
      Fuentes, Jose Leon                 11/30/1981
      Hendricks, Edgar Morris             12/4/1981
      Lanphear, Ronald Eugene            12/18/1981
      Guzman, Gary Lee                   12/22/1981
      Caro, Fernando Eros                  1/8/1982
      Hayes, Blufford, Jr.                1/22/1982
      Bloyd, Dale Michael                 1/25/1982
      Lucero, Phillip Louis               1/26/1982
      Crandell, Kenneth                    2/2/1982
      Hovey, Richard Adams                2/10/1982
      Avena, Carlos Jaime                 2/12/1982
      Brown, Albert Greenwood, Jr.        2/25/1982
      Branner, Willie                     2/26/1982
      Sanders, Ronald Lee                  3/3/1982
      Payton, William Charles              3/9/1982
      Bonin, William George               3/12/1982
      Silva, Benjamin Wai                 3/15/1982
      Marks, John                         3/31/1982
      Milner, Lynn Bernard                 4/2/1982
      Lucky, Darnell                       4/7/1982
      Boyde, Richard                      4/20/1982
      Williams, Kenneth Derrell           5/14/1982
      Wade, Melvin Meffery                5/21/1982
      Carpenter, George Allison           5/21/1982
      Howard, Gary Lee, Sr.               5/27/1982
      Grant, Richard Edward               5/28/1982
      Brown, John George                  6/15/1982
      Babbitt, Manuel Pina                 7/8/1982
      Jones, Troy Lee                     7/23/1982
      Willis, Mose                        7/26/1982
      Snow, Prentice Juan                 8/31/1982
      Miranda, Adam                       9/17/1982
      Karis, James Leslie                 9/17/1982
      Pensinger, Brett Patrick            9/20/1982
      Belmontes, Fernando, Jr.            10/6/1982
      Wright, Bronte Lamont              10/29/1982
      Deere, Ronald Lee                   11/9/1982
      Poggi, Joseph Carlos               11/12/1982
      Allen, Clarence Ray                11/22/1982
      Sanders, Ricardo Rene               12/3/1982
      Ross, Craig Anthony                12/10/1982
      Champion, Steve Allen              12/10/1982
      Hamilton, Michael Allen            12/17/1982
      Farmer, Lee Perry                   1/17/1983


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                    Name
                                        judgment
      Keenan, Maurice J.                   1/21/1983
      Fuller, Ronald Edward                 2/3/1983
      Sixto, Felipe Evangelista            2/17/1983
      Neely, Charles Frederick             3/11/1983
      Clark, Douglas Daniel                3/16/1983
      Melton, James Andrew                 3/18/1983
      Murtishaw, David Leslie              3/25/1983
      Williams, Michael Allen               4/1/1983
      Siripongs, Jaturun                   4/22/1983
      Hitchings, Keith Sanford              5/6/1983
      Robbins, Malcolm Joseph              5/12/1983
      Bonillas, Louis Lujan                5/20/1983
      Edelbacher, Peter                    5/25/1983
      Roberts, Larry H.                    5/27/1983
      Webster, Larry Junior                 6/9/1983
      Morales, Michael Angelo              6/14/1983
      Malone, Kelvin Shelby                6/14/1983
      Gallego, Gerald Armond               6/21/1983
      Marshall, George Edward              6/28/1983
      Proctor, William Arnold              6/28/1983
      Gonzalez, Martin G.                   7/8/1983
      Adcox, Keith Edward                  7/11/1983
      Hernandez, Francis Gerard            7/12/1983
      Howard, Albert Cecil                  8/3/1983
      Odle, James Richard                  8/12/1983
      Bonin, William George                8/26/1983
      Mickey, Douglas Scott                9/23/1983
      Dyer, Alfred R.                      9/26/1983
      Mayfield, Demetrie Ladon             9/30/1983
      Carrera, Constantino                10/14/1983
      Visciotti, John Louis               10/21/1983
      Hendricks, Edgar Morris              11/8/1983
      Miller, Donald                      11/10/1983
      Stankewitz, Douglas Ray             11/18/1983
      Morris, Oscar Lee                   11/21/1983
      Thompson, Robert Jackson             12/6/1983
      Mason, David Edwin                   1/27/1984
      Reilly, Mark Anthony                  2/1/1984
      Hardy, James Edward                   2/1/1984
      Robertson, Andrew Edward              2/3/1984
      Stanley, Gerald Frank                 2/7/1984
      Beardslee, Donald Jay                3/13/1984
      Daniels, Jackson Chambers, Jr.       3/14/1984
      Jennings, Michael Wayne              3/27/1984


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                                     Date of death
                  Name
                                      judgment
      Hunter, Michael Wayne               3/28/1984
      Moore, Charles Edward               5/16/1984
      Jackson, Michael Anthony            5/21/1984
      Pinholster, Scott Lynn               6/4/1984
      Andrews, Jesse James                 6/8/1984
      Diaz, Robert Rubane                 6/15/1984
      Harris, Von Maurice                 6/19/1984
      Mitcham, Stephan Louis               7/6/1984
      Easley, Elbert Lee                  7/13/1984
      Bloom, Robert Maurice               7/23/1984
      Kaurish, Jay Charles                7/27/1984
      Kirkpatrick, William, Jr.           8/14/1984
      Thompson, Thomas Martin             8/17/1984
      Marquez, Gonzalo Marquez            9/24/1984
      Allison, Watson                     10/2/1984
      McDowell, Charles Edward           10/23/1984
      Lewis, Robert, Jr.                  11/1/1984
      Carpenter, David Joseph            11/20/1984
      Lang, Kenneth Burton, Jr.           12/5/1984
      Boyer, Richard Delmer              12/14/1984
      Turner, Thaddaeus Louis            12/21/1984
      Clark, William John                  2/1/1985
      Jones, Earl Preston                 2/22/1985
      Douglas, Fred Berre                  4/5/1985
      Weaver, Ward Francis, Jr.           4/11/1985
      Gordon, Patrick Bruce                5/3/1985
      Cooper, Kevin                       5/15/1985
      Whitt, Charles Edward               5/23/1985
      Burton, Andre                        6/4/1985
      Mincey, Bryan Joseph                6/14/1985
      Haskett, Randy                      6/28/1985
      Holloway, Duane                      7/8/1985
      Stansbury, Robert Edward            7/15/1985
      Ramirez, Richard Raymond             8/8/1985
      Cummings, Raynard Paul              9/20/1985
      Gay, Kenneth Earl                   9/20/1985
      Horton, James Frank, II             10/7/1985
      Cox, Michael Anthony               11/26/1985
      Sheldon, Jeffrey Theodore          12/19/1985
      DeSantis, Stephen                    2/3/1986
      Mattson, Michael Dee                 2/7/1986
      Hawthorne, Anderson, Jr.            2/18/1986
      Anderson, Stephen Wayne             3/26/1986
      Mickle, Denny                       4/17/1986


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                  Name
                                      judgment
      Cox, Tiequon Aundray                4/30/1986
      Duncan, Henry Earl                   5/5/1986
      McPeters, Ronald Avery               5/7/1986
      Marshall, Ryan Michael               5/9/1986
      Taylor, Freddie Lee                 5/30/1986
      Kelly, Horace Edwards               6/25/1986
      Price, Curtis Floyd                 7/10/1986
      Williams, Barry Glenn               7/11/1986
      Sully, Anthony John                 7/15/1986
      Deere, Ronald Lee                   7/18/1986
      Ashmus, Troy Adam                   7/29/1986
      Silva, Mauricio Rodriguez           8/11/1986
      Hayes, Royal Kenneth                8/18/1986
      Alcala, Rodney James                8/20/1986
      Fierro, David Rey                   8/22/1986
      Espinoza, Antonio                   9/18/1986
      Thomas, Ralph International         9/25/1986
      Jennings, Wilbur                   11/12/1986
      Danielson, Robert Wayne            11/13/1986
      Montiel, Richard Galvan             12/8/1986
      Edwards, Thomas Francis            12/11/1986
      Frank, Theodore Francis             2/23/1987
      Medina, Teofilo, Jr.                2/26/1987
      Day, Christopher Teddy               3/3/1987
      Breaux, David Anthony               3/12/1987
      Frierson, Lavell                    3/18/1987
      Zapien, Conrad Jess                 3/23/1987
      Benson, Richard Allen               4/30/1987
      Bacigalupo, Miguel Angel            6/12/1987
      Nicolaus, Robert Henry              6/23/1987
      Sandoval, Alfred Arthur             6/30/1987
      Livaditis, Steven                    7/8/1987
      Reno (aka Memro, Harold Ray)        7/17/1987
      Wharton, George Herbert             7/22/1987
      Williams, Darren Charles            7/23/1987
      Garceau, Robert Frederick           7/30/1987
      Johnson, Willie Darnell              8/5/1987
      Pride, Timothy                       8/6/1987
      Morris, Bruce Wayne                 8/27/1987
      Wash, Jeffrey D.                     9/1/1987
      Thomas, Donrell                     9/10/1987
      Sims, Mitchell Carlton              9/11/1987
      Kipp, Martin James                  9/18/1987
      Fuentes, Jose Leon                  9/18/1987


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      Tuilaepa, Paul Palalaua             9/25/1987
      Freeman, Fred Harlan                10/7/1987
      Lucas, Larry Douglas                11/4/1987
      Clair, Kenneth                      12/4/1987
      Fudge, Keith Tyrone                12/11/1987
      Clark, Richard Dean                12/18/1987
      Wader, Michael Joseph                1/5/1988
      Hill, Michael                       1/21/1988
      Noguera, William Adolf              1/29/1988
      Kelly, Horace Edwards               3/24/1988
      Johnson, Laverne                     4/1/1988
      Osband, Lance Ian                    4/8/1988
      Ramos, Marcelino                    4/27/1988
      Rogers, David Keith                  5/2/1988
      Mayfield, Dennis                     5/4/1988
      Bradford, Bill                      5/11/1988
      Fauber, Curtis Lynn                 5/16/1988
      Raley, David Allen                  5/17/1988
      Wrest, Theodore John                5/18/1988
      Cudjo, Armenia Levi, Jr.            5/27/1988
      Hart, Joseph William                5/27/1988
      Cinco, Joselito                     6/10/1988
      Turner, Melvin                      6/10/1988
      Samayoa, Richard Gonzales           6/28/1988
      Rowland, Guy Kevin                  6/29/1988
      Hines, Gary Dale                     7/8/1988
      Cain, Tracy Dearl                   7/12/1988
      Wilson, Robert Paul                 7/14/1988
      Carpenter, David Joseph             7/19/1988
      Webb, Dennis Duane                  8/15/1988
      Dennis, William Michael              9/6/1988
      Frye, Jerry Grant                   9/12/1988
      Hill, Shawn                         9/22/1988
      Haley, Kevin Bernard                10/3/1988
      Jenkins, Daniel Steven              10/6/1988
      Riel, Charles Dell                 10/14/1988
      Turner, Richard Dean               10/19/1988
      Marshall, Sammy                    10/27/1988
      Rodriguez, Jose Arnaldo            10/28/1988
      Sanchez, Teddy Brian               10/31/1988
      Halvorsen, Arthur Hans             11/18/1988
      Berryman, Rodney, Sr.              11/28/1988
      Barnett, Lee Max                   11/30/1988
      Mendoza, Manuel                      1/6/1989


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       Coddington, Herbert James           1/20/1989
       Ayala, Ronaldo Medrano               2/9/1989
       Jones, Jeffrey Gerard               2/22/1989
       Kipp, Martin James                  2/24/1989
       Ochoa, Lester Robert                3/20/1989
       Quartermain, Drax                   4/10/1989
       Brown, Albert Greenwood, Jr.        4/19/1989
       Beeler, Rodney Gene                  5/5/1989
       Kolmetz, Jeffrey Wayne              5/18/1989
       Scott, James Robert                 5/18/1989
       Jackson, Noel                        6/2/1989
       Massie, Robert Lee                   6/8/1989
       Crittenden, Steven Edward           6/12/1989
       Farnam, Jack Gus                    6/15/1989
       Cunningham, Albert                  6/16/1989
       Seaton, Ronald Harold               6/16/1989
       Davenport, John Galen               6/26/1989
       Craine, Louis                       6/27/1989
       Smithey, George Hatton              7/18/1989
       Welch, David Esco                   7/25/1989
       Ray, Clarence, Jr.                  7/28/1989
       Blair, James Nelson                  8/9/1989
       Marlow, James Gregory               8/31/1989
       Fairbank, Robert Green               9/1/1989
       Alvarez, Manuel Machado             9/14/1989
       Lucas, David Allen                  9/19/1989
       Rundle, David Allen                 9/21/1989
       Lucero, Phillip Louis               10/5/1989
       Medina, Teofilo, Jr.               10/25/1989
       Coffman, Cynthia Lynn              10/30/1989
       Bemore, Terry Douglas               11/2/1989
       Maury, Robert Edward                11/3/1989
       Ramirez, Richard Munoz              11/7/1989
       Davis, Stanley Bernard             11/14/1989
       Kraft, Randy Steven                11/29/1989
       Ayala, Hector Juan                 11/30/1989
       Carter, Dean Phillip                1/30/1990
       Hawkins, Jeffrey Jay                1/31/1990
       Dunkle, Jon Scott                    2/7/1990
       Padilla, Alfredo Alvarado            2/7/1990
       Ledesma, Fermin Rodriguez            2/7/1990
       Arias, Pedro                        2/22/1990
       Lawley, Dennis Harold               2/26/1990
       Davis, Larry David                   3/8/1990


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                                       judgment
       Gray, Mario Lewis                   3/14/1990
       Millwee, Donald Ray                 3/21/1990
       Schmeck, Mark Lindsey                4/5/1990
       Carter, Tracey Lavell               4/20/1990
       Tobin, Christopher Allan            4/24/1990
       Letner, Richard Lacy                4/24/1990
       Sheldon, Jeffrey Theodore           5/11/1990
       Bailey, Jerry Kenneth               5/16/1990
       Holt, John Lee                      5/30/1990
       McDermott, Maureen                   6/8/1990
       Bradford, Mark Alan                  7/3/1990
       Catlin, Steven David                 7/6/1990
       Yeoman, Ralph Michael               7/10/1990
       Steele, Raymond Edward              7/24/1990
       Masters, Jarvis J.                  7/30/1990
       Michaels, Kurt                      7/31/1990
       Comtois, Roland Norman              7/31/1990
       Musselwhite, Joseph Timothy         9/25/1990
       Snow, Prentice Juan                 9/25/1990
       Hughes, Kristin William             10/2/1990
       Nakahara, Evan Teek                 11/6/1990
       Gutierrez, Isaac, Jr.              11/14/1990
       Brown, Paul Madison                11/16/1990
       Hovarter, Jackie Ray               11/30/1990
       Lewis, Milton Otis                  12/6/1990
       Salcido, Ramon Bojorquez           12/17/1990
       Young, Robert                      12/17/1990
       Gurule, Raymond Anthony            12/19/1990
       Ward, Carmen Lee                    1/25/1991
       Majors, James David                  2/4/1991
       Box, Christopher Clark              2/22/1991
       Bolin, Paul Clarence                2/25/1991
       Anderson, James Phillip              3/4/1991
       Lewis, Raymond Anthony               3/7/1991
       Waidla, Tauno                        3/8/1991
       Lewis, Robert, Jr.                  3/20/1991
       Hernandez, Jesus Cianez             3/21/1991
       Stewart, Richard Bert               4/26/1991
       Moon, Richard Russell                5/9/1991
       McDonald, Robert F.                 5/31/1991
       Jones, Ronald Anthony                6/4/1991
       Ervin, Curtis Lee                   6/28/1991
       Bolden, Clifford Stanley            7/19/1991
       Stanley, Darren Cornelius           7/29/1991


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       Navarette, Martin Anthony            8/14/1991
       Bunyard, Jerry Thomas                 9/9/1991
       Carter, Dean Phillip                  9/9/1991
       Townsel, Anthony Letrice             9/13/1991
       Sapp, John                          10/16/1991
       Morrison, Jesse                     10/30/1991
       Dent, Omar, III                      11/1/1991
       O'Malley, James Francis             11/21/1991
       Slaughter, Michael Corey            11/27/1991
       Sakarias, Peter                      12/5/1991
       Watson, Paul Gregory                12/13/1991
       Jones, Michael Lamont               12/13/1991
       Cleveland, Dellano Leroy            12/19/1991
       Burgener, Michael Ray                 1/3/1992
       Staten, Deondre Arthur               1/16/1992
       Farley, Richard Wade                 1/17/1992
       Veasley, Chauncey Jamal              1/24/1992
       Taylor, Robert Clarence              1/30/1992
       Bridges, Edward Dean                 2/20/1992
       Earp, Ricky Lee                      2/21/1992
       Dickey, Colin Raker                  2/27/1992
       Waldon, Billy Ray                    2/28/1992
       Phillips, Richard Louis Arnold       3/13/1992
       Casares, Jose Lupercio               3/13/1992
       Vieira, Richard John                 3/30/1992
       Smith, Gregory Scott                  4/3/1992
       Lynch, Franklin                      4/28/1992
       Marlow, James Gregory                 5/8/1992
       Watkins, Paul Sodoa                  5/11/1992
       Walker, Thomas Edwin                 5/12/1992
       Brown, Andrew Lamont                 5/14/1992
       Valdez, Alfredo Reyes                5/22/1992
       Elliott, Marchand                     6/3/1992
       Prieto, Alfredo R.                   6/18/1992
       Friend, Jack Wayne                   6/19/1992
       Alfaro, Maria del Rosio              7/14/1992
       Cole, Stephen                        7/16/1992
       Smith, Gregory Calvin                8/14/1992
       San Nicolas, Rodney Jesse            8/31/1992
       Moffett, Jessie Ray                   9/2/1992
       Stitely, Richard                     9/14/1992
       Solomon, Morris, Jr.                 9/16/1992
       Griffin, Donald                      9/22/1992
       Richardson, Charles Keith            10/7/1992


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                                       Date of death
                    Name
                                        judgment
       Tulk, James David                   10/9/1992
       Hillhouse, Dannie Ray              10/13/1992
       Howard, Alphonso                   10/20/1992
       Cash, Randall Scott                10/20/1992
       Williams, David Earl               10/20/1992
       Roybal, Rudolph Jose               10/20/1992
       Boyer, Richard Delmer              10/23/1992
       Cruz, Gerald Dean                  10/23/1992
       Beck, James David                  10/23/1992
       Holloway, Duane                    10/27/1992
       Johnson, Joe Edward                10/28/1992
       Tully, Richard Christopher          12/4/1992
       Ochoa, Sergio                      12/10/1992
       Williams, George Brett             12/17/1992
       Roldan, Ricardo                    12/29/1992
       Ramos, William James                 1/8/1993
       Sturm, Gregory Allen                2/26/1993
       Lewis, John Irvin                    3/3/1993
       Tate, Gregory O.                     3/5/1993
       Danks, Joseph Martin                 4/2/1993
       Chatman, Erik Sanford                4/9/1993
       Boyette, Maurice                     5/7/1993
       Martinez, Omar Fuentes              5/10/1993
       Oliver, Anthony Cedric              5/21/1993
       Lewis, Albert                       5/21/1993
       Wallace, Keone                      5/27/1993
       Weaver, La Twon Regenial            5/28/1993
       Bland, Warren James                 5/28/1993
       Benavides, Vicente Figueroa         6/16/1993
       Thompson, Catherine                 6/16/1993
       Combs, Michael Stephen              6/21/1993
       Curl, Robert Zane                   7/15/1993
       Crew, Mark Christopher              7/22/1993
       Stevens, Charles                    7/30/1993
       Monterroso, Christian Antonio       8/12/1993
       DeHoyos, Richard Lucio              8/27/1993
       Harrison, Cedric Seth               8/30/1993
       Zambrano, Enrique                    9/8/1993
       Emdy, Corvin Charles                 9/9/1993
       Houston, Eric Christopher           9/20/1993
       Heard, James Matthew                9/28/1993
       Smith, Robert Lee                   9/30/1993
       Prince, Cleophus, Jr.               11/5/1993
       Manriquez, Abelino                 11/16/1993


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                                        Date of death
                     Name
                                         judgment
       Koontz, Herbert Harris                  11/19/1993
       Guerra, Jose Francisco                  11/22/1993
       Hinton, Eric Lamont                     12/10/1993
       Huggins, Michael James                  12/17/1993
       Kennedy, Jerry Noble                    12/20/1993
       Harris, Lanell Craig                     1/12/1994
       Bell, Steven M.                           3/4/1994
       Wilson, Robert Paul                       4/8/1994
       Sattiewhite, Christopher James           4/25/1994
       DePriest, Timothy Lee                    5/27/1994
       Marks, Delaney Geral                      6/3/1994
       Death judgments imposed before
       June 9, 1994                                  493
       Death judgments imposed before
       June 9, 1989                                  318
       Source: Habeas Corpus Resource Center




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  Fiscal    Number of inmates needing
 year end       habeas counsel
6/30/1999                          160
6/30/2000                          215
6/30/2001                          220
6/30/2002                          260
6/30/2003                          248
6/30/2004                          263
6/30/2005                          266
6/30/2006                          271
6/30/2007                          279
6/30/2008                          284
6/30/2009                          303
6/30/2010                          315
6/30/2011                          324
6/30/2012                          332
6/30/2013                          341
6/06/2014                          352
Source: California Supreme Court Automatic
Appeals Monitor and Habeas Corpus Resource
Center




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                   Name           Direct appeal case number        Direct appeal case status


Avila, Alejandro              S135855                         Judgment pending

Avila, Joseph                 S078664                         Judgment entered

Bacon, Robert Allen           S079179                         Judgment entered

Banks, Kelvyn Rondell         S080477                         Judgment pending

Blacksher, Erven R.           S076582                         Judgment entered

Boyce, Kevin Dewayn           S092240                         Judgment pending

Brady, Roger Hoan             S078404                         Judgment entered

Brasure, Spencer Rawlins      S072949                         Judgment entered

Capistrano, John Leo          S067394                         Judgment pending

Castaneda, Gabriel            S085348                         Judgment entered

Chism, Calvin Dion            S101984                         Judgment entered

D'Arcy, Jonathan Daniel       S060500                         Judgment entered

Debose, Donald Ray            S080837                         Judgment entered

Duenas, Enrique Parra         S077033                         Certiorari pending

Enraca, Sonny                 S080947                         Judgment entered

Famalaro, John Joseph         S064306                         Judgment entered

Foster, Richard Don           S058025                         Judgment entered

Gamache, Richard Cameron      S052808                         Judgment entered

Gonzales, Ivan Joe            S067353                         Judgment entered

Gonzales, John Anthony        S075616                         Judgment entered

Gonzales, Veronica Utilia     S072316                         Judgment entered

Grimes, Gary Lee              S076339                         Judgment pending

Gutierrez, Alfred Anthony     S073253                         Judgment entered

Hartsch, Cisco James          S074804                         Judgment entered

Hensley, Paul Loyde           S050102                         Judgment pending

Homick, Steven                S044592                         Judgment entered

Jackson, Jonathan Keith       S086269                         Judgment entered

Jackson, Michael Anthony      S110206                         Judgment entered

Jennings, Martin Carl         S081148                         Judgment entered




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                  Name            Direct appeal case number        Direct appeal case status


Jones, Albert                 S056364                         Judgment entered

Jones, Bryan Maurice          S042346                         Judgment entered

Jones, William Alfred, Jr.    S076721                         Judgment entered

Lewis, Michael Bernard        S069959                         Judgment entered

Lindberg, Gunner Jay          S066527                         Judgment entered

Linton, Daniel Andrew         S080054                         Judgment entered

Livingston, David James       S090499                         Judgment entered

Lopez, Juan Manuel            S073597                         Certiorari pending

Loy, Eloy                     S076175                         Judgment entered

Maciel, Luis Pelon            S070536                         Judgment entered

Manibusan, Joseph Kekoa       S094890                         Judgment entered

Martinez, Tommy Jesse         S074624                         Judgment entered

McCurdy, Gene Estel           S061026                         Judgment pending

McDowell, Charles Edward      S085578                         Judgment entered

McKinnon, Crandell            S077166                         Judgment entered

McKinzie, Kenneth             S081918                         Judgment entered

Mendoza, Martin               S067678                         Judgment entered

Mendoza, Ronald Bruce         S065467                         Judgment entered

Montes, Joseph Manuel         S059912                         Judgment entered

Moore, Charles Edward         S075726                         Judgment entered

Moore, Ronald Wayne           S081479                         Judgment entered

Morgan, Edward Patrick        S055130                         Judgment entered

Myles, John                   S097189                         Judgment entered

Nunez, Daniel                 S091915                         Judgment entered

Redd, Stephen Moreland        S059531                         Judgment entered

Rogers, Glen                  S080840                         Judgment entered

Rogers, Ramon Jay             S064337                         Judgment entered

Romero, Gerardo               S070686                         Judgment entered

Rountree, Charles F.          S048543                         Judgment entered

Satele, William               S091915                         Judgment entered




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                   Name             Direct appeal case number        Direct appeal case status


Sattiewhite, Christopher James   S039894                        Judgment pending

Scott, David Lynn                S068863                        Judgment entered

Soliz, Michael                   S075616                        Judgment entered

Solomon, Morris, Jr.             S029011                        Judgment entered

Souza, Matthew Aric              S076999                        Judgment entered

Suff, William Lester             S049741                        Rehearing pending

Taylor, Brandon Arnae            S062562                        Judgment entered

Taylor, Keith Desmond            S054774                        Judgment entered

Thomas, Correll Lamont           S082828                        Judgment entered

Thomas, Keith Tyson              S067519                        Judgment entered

Thomas, Regis Deon               S048337                        Judgment entered

Trinh, Dung Dinh Anh             S115284                        Judgment entered

Valdez, Richard                  S062180                        Judgment entered

Vines, Sean Venyette             S065720                        Judgment entered

Whisenhunt, Michael McCrea       S056997                        Judgment entered

Williams, Corey Leigh            S093756                        Judgment entered

Williams, Robert Lee             S118629                        Judgment entered

Adams, Marcus                    S118045                        Briefing complete

Amezcua, Oswaldo                 S133660                        Briefing complete

Armstrong, Jamelle Edward        S126560                        Briefing complete

Becerra, Frank Kalil             S065573                        Briefing complete

Brooks, Donald Lewis             S099274                        Briefing complete

Buenrostro, Dora                 S073823                        Briefing complete

Burgener, Michael Ray            S179181                        Briefing complete

Cage, Micky Ray                  S120583                        Briefing complete

Case, Charles Edward             S057156                        Briefing complete

Charles, Edward, III             S076337                        Briefing complete

Clark, William Clinton           S066940                        Briefing complete

Cooper, Leon Chauncey            S099770                        Briefing complete

Covarrubias, Daniel Sanchez      S075136                        Briefing complete




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                      Name        Direct appeal case number        Direct appeal case status


Daveggio, James Anthony       S110294                         Briefing complete

Deen, Omar Richard            S092615                         Briefing complete

Donaldson, Jasari Latiful     S128402                         Briefing complete

Flores, Alfred, III           S116307                         Briefing complete

Flores, Joseph                S133660                         Briefing complete

Frederickson, Daniel Carl     S067392                         Briefing complete

Govin, Pravin                 S137290                         Briefing complete

Govin, Virendra               S130524                         Briefing complete

Hazlett, Larry Kusuth         S126387                         Briefing complete

Henriquez, Christopher        S089311                         Briefing complete

Holmes, Karl Darnell          S058734                         Briefing complete

Jackson, Bailey               S139103                         Briefing complete

Johnson, Cedric Jerome        S075727                         Briefing complete

Kopatz, Kim Raymond           S097414                         Briefing complete

Krebs, Rex Allan              S099439                         Briefing complete

Landry, Daniel Gary           S100735                         Briefing complete

McClain, Herbert Charles      S058734                         Briefing complete

Mendez, Julian Alejandro      S129501                         Briefing complete

Mendoza, Huber Joel           S143743                         Briefing complete

Michaud, Michelle Lyn         S110294                         Briefing complete

Mickel, Andrew Hampton        S133510                         Briefing complete

Mora, Joseph Adam             S079925                         Briefing complete

Nelson, Sergio Dujuan         S048763                         Briefing complete

Newborn, Lorenzo              S058734                         Briefing complete

Ng, Charles Chitat            S080276                         Briefing complete

Nguyen, Lam Thanh             S076340                         Briefing complete

Potts, Thomas                 S072161                         Briefing complete

Powell, Troy Lincoln          S137730                         Briefing complete

Rangel, Ruben                 S079925                         Briefing complete

Reed, Ennis                   S082776                         Briefing complete




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                   Name           Direct appeal case number        Direct appeal case status


Rhoades, Robert Boyd          S082101                         Briefing complete

Salazar, Magdaleno            S077524                         Briefing complete

Sandoval, Ramon, Jr.          S115872                         Briefing complete

Scott, Royce Lyn              S064858                         Briefing complete

Silveria, Daniel Todd         S062417                         Briefing complete

Simon, Richard Nathan         S102166                         Briefing complete

Sivongxxay, Vaene             S078895                         Briefing complete

Smith, Floyd Daniel           S065233                         Briefing complete

Smith, Paul Gordon, Jr.       S112442                         Briefing complete

Travis, John Raymond          S062417                         Briefing complete

Vargas, Eduardo David         S101247                         Briefing complete

Westerfield, David Alan       S112691                         Briefing complete

Williams, Jack Emmit          S073205                         Briefing complete

Winbush, Grayland             S117489                         Briefing complete

Woodruff, Steve               S115378                         Briefing complete

Zaragoza, Louis Rangel        S097886                         Briefing complete

Alvarez, Francisco Jay        S089619                         ARB pending

Armstrong, Craigen Lewis      S130659                         ARB pending

Bankston, Anthony George      S044739                         ARB pending

Barrera, Marco Esquivel       S103358                         ARB pending

Camacho, Adrian George        S141080                         ARB pending

Caro, Socorro Susan           S106274                         ARB pending

Cordova, Joseph Seferino      S152737                         ARB pending

Dixon, James Winslow          S163417                         ARB pending

Espinoza, Johnny              S140795                         ARB pending

Flinner, Michael William      S123813                         ARB pending

Garton, Todd Jesse            S097558                         ARB pending

Gomez, Ruben Perez            S087773                         ARB pending

Hardy, Warren Justin          S113421                         ARB pending

Hin, Mao                      S141519                         ARB pending




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                  Name            Direct appeal case number       Direct appeal case status


Johnson, Jerrold Elwin        S093235                         ARB pending

Leon, Jose Luis               S143531                         ARB pending

Loot, Kendrick                S086578                         ARB pending

Millsap, Bruce                S086578                         ARB pending

Nadey, Giles Albert, Jr.      S087560                         ARB pending

Penunuri, Richard             S095076                         ARB pending

Poynton, Richard James        S096809                         ARB pending

Ramirez, Juan Villa           S099844                         ARB pending

Schultz, Michael Joseph       S114671                         ARB pending

Scully, Robert Walter         S062259                         ARB pending

Wright, William Lee           S107900                         ARB pending

Young, Jeffrey Scott          S148462                         ARB pending

Anderson, Eric Steve          S138474                         RB pending

Argueta, Carlos Marvin        S150524                         RB pending

Baker, Paul Wesley            S170280                         RB pending

Barrett, Joseph Anthony       S124131                         RB pending

Battle, Thomas                S119296                         RB pending

Chhoun, Run Peter             S084996                         RB pending

Drews, Martin Dexter          S154365                         RB pending

Dworak, Douglas Edward        S135272                         RB pending

Erskine, Scott Thomas         S127621                         RB pending

Fayed, James Michael          S198132                         RB pending

Gonzalez, Frank Christopher   S163643                         RB pending

Helzer, Glen Taylor           S132256                         RB pending

Johnson, Billy Joe            S178272                         RB pending

Mataele, Tupoutoe             S138052                         RB pending

Melendez, Angelo Michael      S118384                         RB pending

Miles, Johnny Duane           S086234                         RB pending

Miranda Guerrero, Victor M.   S118147                         RB pending

Morales, Alfonso Ignacio      S136800                         RB pending




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                    Name          Direct appeal case number       Direct appeal case status


Morelos, Valdamir Fred        S051968                         RB pending

Navarro, Anthony              S165195                         RB pending

Orozco, Jose Luis             S152556                         RB pending

Pan, Samreth Sam              S105403                         RB pending

Williams, George              S131819                         RB pending

Wilson, Javance Mickey        S118775                         RB pending

Wilson, Lester Harland        S189373                         RB pending

Abbott, Joe Henry             S141274                         AOB pending

Acremant, Robert James        S110804                         AOB pending

Becerrada, Ruben              S170957                         AOB pending

Capers, Lee Samuel            S146939                         AOB pending

Cardenas, Refugio Ruben       S151493                         AOB pending

Chhoun, Run Peter             S105403                         AOB pending

Crawford, Charles Edward      S107653                         AOB pending

Demolle, Alex                 S159120                         AOB pending

Dent, Anthony                 S176413                         AOB pending

Dunlap, Dean Eric             S142857                         AOB pending

Evans, Steve Carl             S169689                         AOB pending

Flores, Ralph                 S166737                         AOB pending

Ford, Wayne Adam              S151172                         AOB pending

Frazier, Robert Ward          S148863                         AOB pending

Hamilton, Alexander Rashad    S158112                         AOB pending

Kennedy, John Fitzgerald      S172750                         AOB pending

Lamb, Michael Allan           S166168                         AOB pending

Luther, Johnathan Ross        S152269                         AOB pending

Madison, Ricky Rene           S174886                         AOB pending

Magallon, Miguel Angel        S177281                         AOB pending

McKnight, Anthony             S168441                         AOB pending

Miracle, Joshua Martin        S140894                         AOB pending

Mitchell, Louis, Jr.          S147335                         AOB pending




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                   Name            Direct appeal case number        Direct appeal case status


Mosley, Barry Wendell          S168204                         AOB pending

Parker, Calvin Lamont          S113962                         AOB pending

Pineda, Santiago               S150509                         AOB pending

Poore, Christopher Eric        S104665                         AOB pending

Rivera, Cuitlahuac Tahua       S153881                         AOB pending

Sanchez, Vincent Henry         S120382                         AOB pending

Silva, Mauricio Rodriguez      S155617                         AOB pending

Steskal, Maurice Gerald        S122611                         AOB pending

Thomas, Justin Heath           S161781                         AOB pending

Turner, Chester Dwayne         S154499                         AOB pending

Watta, Benjamin Wayne          S170001                         AOB pending

Wesson, Marcus Delon           S136171                         AOB pending
                                                               Counsel appointed; Record
Aguirre, Jason Alejandro       S175660
                                                               correction
                                                               Counsel appointed; Record
Alcala, Rodney James           S181535
                                                               correction
                                                               Counsel appointed; Record
Aldana, Roman Gabriel          S185201
                                                               correction
                                                               Counsel appointed; Record
Alvarez, Alberto               S180174
                                                               correction
                                                               Counsel appointed; Record
Arias, Lorenzo Inez            S167010
                                                               correction
                                                               Counsel appointed; Record
Bertsch, John Anthony          S093944
                                                               correction
                                                               Counsel appointed; Record
Bracamontes, Manuel            S139702
                                                               correction
                                                               Counsel appointed; Record
Buettner, Jeffree J.           S182341
                                                               correction
                                                               Counsel appointed; Record
Cain, Anthony Deondrea         S179826
                                                               correction
                                                               Counsel appointed; Record
Chavez, Juan Jose              S162506
                                                               correction
                                                               Counsel appointed; Record
Choyce, William Jennings       S169090
                                                               correction
                                                               Counsel appointed; Record
Colbert, Tecumseh              S169152
                                                               correction
                                                               Counsel appointed; Record
Cook, Michael                  S165649
                                                               correction
                                                               Counsel appointed; Record
Deleon, Skylar Julius          S171998
                                                               correction
                                                               Counsel appointed; Record
Dunn, Aaron Norman             S184521
                                                               correction
                                                               Counsel appointed; Record
Guerrero, Jose                 S174227
                                                               correction
                                                               Counsel appointed; Record
Hernandez, George Anthony      S180217
                                                               correction
                                                               Counsel appointed; Record
Hill, Ivan J.                  S152463
                                                               correction



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                                                                     Counsel appointed; Record
Hronis, Jeffery Lee                   S093944
                                                                     correction
                                                                     Counsel appointed; Record
Hughes, Mervin Ray                    S134792
                                                                     correction
                                                                     Counsel appointed; Record
Jasso, Christopher Guy                S179454
                                                                     correction
                                                                     Counsel appointed; Record
Jones, Glen Joseph                    S182341
                                                                     correction
                                                                     Counsel appointed; Record
Jones, Steven Anthony                 S175663
                                                                     correction
                                                                     Counsel appointed; Record
Kemp, Darryl Thomas                   S174232
                                                                     correction
                                                                     Counsel appointed; Record
Lewis, Travis Jeremy                  S185221
                                                                     correction
                                                                     Counsel appointed; Record
Martin, Valerie Dee                   S181555
                                                                     correction
                                                                     Counsel appointed; Record
Martinez, Carlos                      S175720
                                                                     correction
                                                                     Counsel appointed; Record
Martinez, Santiago                    S178464
                                                                     correction
                                                                     Counsel appointed; Record
McDaniel, Donte Lamont                S171393
                                                                     correction
                                                                     Counsel appointed; Record
McGhee, Timothy J.                    S169750
                                                                     correction
                                                                     Counsel appointed; Record
Mejorado, Jose Sergio                 S186162
                                                                     correction
                                                                     Counsel appointed; Record
Mendoza, Luis Alonso                  S167010
                                                                     correction
                                                                     Counsel appointed; Record
Morales, Johnny                       S137307
                                                                     correction
                                                                     Counsel appointed; Record
Oyler, Raymond Lee                    S173784
                                                                     correction
                                                                     Counsel appointed; Record
Penuelas, Jesus Guadalupe Velazquez   S165894
                                                                     correction
                                                                     Counsel appointed; Record
Plata, Noel Jesse                     S165998
                                                                     correction
                                                                     Counsel appointed; Record
Ramirez, Irving Alexander             S155160
                                                                     correction
                                                                     Counsel appointed; Record
Rhoades, Robert Boyd                  S154053
                                                                     correction
                                                                     Counsel appointed; Record
Rices, Jean Pierre                    S175851
                                                                     correction
                                                                     Counsel appointed; Record
Rivera, Samuel Ramon                  S174455
                                                                     correction
                                                                     Counsel appointed; Record
Rottiers, Brooke Marie                S187726
                                                                     correction
                                                                     Counsel appointed; Record
Sarinana, Cathy Lynn                  S174709
                                                                     correction
                                                                     Counsel appointed; Record
Sarinana, Raul Ricardo                S174709
                                                                     correction
                                                                     Counsel appointed; Record
Shermantine, Wesley Howard, Jr.       S097668
                                                                     correction
                                                                     Counsel appointed; Record
Shove, Theodore Churchill             S161909
                                                                     correction
                                                                     Counsel appointed; Record
Snyder, Janeen Marie                  S146528
                                                                     correction
                                                                     Counsel appointed; Record
Stayner, Cary Anthony                 S112146
                                                                     correction
                                                                     Counsel appointed; Record
Thornton, Michael Forrest             S146528
                                                                     correction



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                    Name            Direct appeal case number        Direct appeal case status

                                                                Counsel appointed; Record
Tran, Ronald Tri                 S165998
                                                                correction
                                                                Counsel appointed; Record
Valles, Pedro Cortez             S188589
                                                                correction
                                                                Counsel appointed; Record
Varner, Scott Paul               S182059
                                                                correction
                                                                Counsel appointed; Record
Victorianne, Javier William      S162197
                                                                correction
                                                                Counsel appointed; Record
Volarvich, Brendt Anthony        S164370
                                                                correction
                                                                Counsel appointed; Record
Wycoff, Edward Matthew           S178669
                                                                correction
                                                                Counsel appointed; Record
Yonko, Tony Ricky                S176812
                                                                correction
                                                                Counsel appointed; Record
Young, Donald Ray                S142959
                                                                correction
                                                                Counsel appointed; Record
Young, Timothy James             S142959
                                                                correction
                                                                Counsel appointed; Record
Dennis, Calvin Jermaine          S170293
                                                                correction
                                                                Counsel appointed; Record
Ingram, Reyon Twain              S170293
                                                                correction
                                                                Counsel appointed; Record
Jennings, Glenn Wade             S188035
                                                                correction
Aguilar, Jeffrey                 S214388                        Awaiting direct appeal counsel

Avalos, Emilio Manuel            S209032                        Awaiting direct appeal counsel

Balcom, Jason Michael            S216466                        Awaiting direct appeal counsel

Barbar, Michael                  S207510                        Awaiting direct appeal counsel

Bell, Cimarron Bernard           S195568                        Awaiting direct appeal counsel

Bernoudy, Kevin                  S191346                        Awaiting direct appeal counsel

Brim, Ronald Earl                S213832                        Awaiting direct appeal counsel

Brown, Latece Megale             S203540                        Awaiting direct appeal counsel

Brown, Sherhaun Kerod            S203206                        Awaiting direct appeal counsel

Burris, Nathan                   S208209                        Awaiting direct appeal counsel

Butler, Raymond Oscar            S202630                        Awaiting direct appeal counsel

Canales, Osman                   S207945                        Awaiting direct appeal counsel

Castro, Robert Gonzales          S216791                        Awaiting direct appeal counsel

Cervantes, Daniel                S210054                        Awaiting direct appeal counsel

Contreras, Carlos                S210054                        Awaiting direct appeal counsel

Daniels, Jackson Chambers, Jr.   S180112                        Awaiting direct appeal counsel

Espinoza, Pedro                  S206484                        Awaiting direct appeal counsel

Evans, Christopher               S182232                        Awaiting direct appeal counsel




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                    Name          Direct appeal case number        Direct appeal case status


Fajardo, Jonathan              S192662                        Awaiting direct appeal counsel

Fierros, Eusebio, Jr.          S202817                        Awaiting direct appeal counsel

Fletcher, Marcus               S198309                        Awaiting direct appeal counsel

Forte, Melvin Earl             S193769                        Awaiting direct appeal counsel

Fowler, Rickie Lee             S208429                        Awaiting direct appeal counsel

Frazier, Travis                S212477                        Awaiting direct appeal counsel

Galvan, Robert                 S211060                        Awaiting direct appeal counsel

Graham, Jawaun Deion           S199667                        Awaiting direct appeal counsel

Green, Earl Ellis              S203655                        Awaiting direct appeal counsel

Halvorsen, Arthur Hans         S190636                        Awaiting direct appeal counsel

Hann, Jason Michael            S216750                        Awaiting direct appeal counsel

Heard, James Matthew           S185140                        Awaiting direct appeal counsel

Hirschfield , Richard Joseph   S208354                        Awaiting direct appeal counsel

Hughes, Michael                S203514                        Awaiting direct appeal counsel

Jackson, Earl Lloyd            S182161                        Awaiting direct appeal counsel

John, Emrys Justin             S212376                        Awaiting direct appeal counsel

Johnson, Mila                  S186271                        Awaiting direct appeal counsel

Kelley, Jimmy Dale             S185640                        Awaiting direct appeal counsel

Kling, Randolph Clifton        S180711                        Awaiting direct appeal counsel

Livingston, Waymon             S210386                        Awaiting direct appeal counsel

Macias, Armando                S196185                        Awaiting direct appeal counsel

Manzo, Jesse                   S212699                        Awaiting direct appeal counsel

Marentes, Desi Angel           S208348                        Awaiting direct appeal counsel

Martinez, Alberto              S185364                        Awaiting direct appeal counsel

Mendoza, Angel                 S215960                        Awaiting direct appeal counsel

Miller, Tyrone                 S212376                        Awaiting direct appeal counsel

Mills, David                   S206515                        Awaiting direct appeal counsel

Moore, Ryan T.                 S201205                        Awaiting direct appeal counsel

Naso, Joseph                   S214917                        Awaiting direct appeal counsel

Nelson, Tanya Jaime            S182278                        Awaiting direct appeal counsel




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                   Name                     Direct appeal case number        Direct appeal case status


Nissensohn, Joseph Michael             S219152                          Awaiting direct appeal counsel

Nowlin, Kenneth Lee                    S212477                          Awaiting direct appeal counsel

Paniagua, Rodrigo Ortiz, Jr.           S189296                          Awaiting direct appeal counsel

Perez, Christian                       S211045                          Awaiting direct appeal counsel

Perez, John Michael                    S212030                          Awaiting direct appeal counsel

Reed, David John                       S197781                          Awaiting direct appeal counsel

Richardson, Jason Russell              S198378                          Awaiting direct appeal counsel

Rodriguez, Antonio                     S186360                          Awaiting direct appeal counsel

Ronquillo, Gabriel Alexander           S200982                          Awaiting direct appeal counsel

Ruiz, Rudy Anthony                     S212030                          Awaiting direct appeal counsel

Shorts, Donald                         S189992                          Awaiting direct appeal counsel

Smith, Charles                         S213242                          Awaiting direct appeal counsel

Thomson, John Wayne                    S217774                          Awaiting direct appeal counsel

Threats, Derlyn Ray                    S185810                          Awaiting direct appeal counsel

Topete, Marco Antonio                  S200016                          Awaiting direct appeal counsel

Tucker, Jamar                          S189992                          Awaiting direct appeal counsel

Vang, Ronnie                           S218457                          Awaiting direct appeal counsel

Villa, Ricardo                         S195828                          Awaiting direct appeal counsel

Wade, Anthony Darnell                  S214649                          Awaiting direct appeal counsel

Walters, Michael J.                    S212161                          Awaiting direct appeal counsel

Whiteside, Gregory C.                  S188067                          Awaiting direct appeal counsel

Williams, Manling Tsang                S199741                          Awaiting direct appeal counsel

Zanon, David Charles                   S188961                          Awaiting direct appeal counsel
Inmates needing appellate or habeas counsel as of 6/6/2014                                               352
Inmates needing appellate counsel as of 6/6/2014                                                          71
Source: Habeas Corpus Resource Center




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                                                                Time since
                               Date of death    Direct appeal
                Name                                              death
                                judgment        case number
                                                                judgment
Avila, Alejandro                    7/22/2005        S135855    8.873374401
Avila, Joseph                       4/29/1999        S078664    15.10472279
Bacon, Robert Allen                 5/20/1999        S079179    15.04722793
Banks, Kelvyn Rondell                7/8/1999        S080477    14.91307324
Blacksher, Erven R.                  2/9/1999        S076582      15.321013
Boyce, Kevin Dewayn                 9/29/2000        S092240    13.68377823
Brady, Roger Hoan                   3/16/1999        S078404    15.22518823
Brasure, Spencer Rawlins            8/24/1998        S072949    15.78370979
Capistrano, John Leo                 1/6/1998        S067394    16.41341547
Castaneda, Gabriel                   1/7/2000        S085348    14.41204654
Chism, Calvin Dion                10/24/2001         S101984    12.61601643
D'Arcy, Jonathan Daniel             4/11/1997        S060500    17.15263518
Debose, Donald Ray                  7/21/1999        S080837    14.87748118
Duenas, Enrique Parra               1/22/1999        S077033    15.37029432
Enraca, Sonny                       7/23/1999        S080947    14.87200548
Famalaro, John Joseph                9/5/1997        S064306    16.75017112
Foster, Richard Don               12/13/1996         S058025    17.47843943
Gamache, Richard Cameron             4/2/1996        S052808    18.17659138
Gonzales, Ivan Joe                  1/13/1998        S067353    16.39425051
Gonzales, John Anthony            12/18/1998         S075616     15.4661191
Gonzales, Veronica Utilia           7/20/1998        S072316    15.87953457
Grimes, Gary Lee                    1/27/1999        S076339    15.35660507
Gutierrez, Alfred Anthony           8/10/1998        S073253     15.8220397
Hartsch, Cisco James              11/13/1998         S074804    15.56194387
Hensley, Paul Loyde               10/16/1995         S050102    18.63928816
Homick, Steven                      1/13/1995        S044592    19.39493498
Jackson, Jonathan Keith             2/18/2000        S086269    14.29705681
Jackson, Michael Anthony            9/20/2002        S110206    11.70978782
Jennings, Martin Carl               7/22/1999        S081148    14.87474333
Jones, Albert                       9/20/1996        S056364    17.70841889
Jones, Bryan Maurice                9/16/1994        S042346    19.72073922
Jones, William Alfred, Jr.           2/8/1999        S076721    15.32375086
Lewis, Michael Bernard               5/1/1998        S069959    16.09856263
Lindberg, Gunner Jay              12/12/1997         S066527    16.48186174


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                                                                  Time since
                                 Date of death    Direct appeal
               Name                                                 death
                                  judgment        case number
                                                                  judgment
Linton, Daniel Andrew                6/17/1999         S080054     14.9705681
Livingston, David James              7/20/2000         S090499    13.87816564
Lopez, Juan Manuel                   9/18/1998         S073597    15.71526352
Loy, Eloy                            1/14/1999         S076175    15.39219713
Maciel, Luis Pelon                     5/8/1998        S070536    16.07939767
Manibusan, Joseph Kekoa              1/24/2001         S094890    13.36344969
Martinez, Tommy Jesse                9/25/1998         S074624    15.69609856
McCurdy, Gene Estel                  4/22/1997         S061026    17.12251882
McDowell, Charles Edward             1/26/2000         S085578    14.36002738
McKinnon, Crandell                     3/5/1999        S077166    15.25530459
McKinzie, Kenneth                    8/26/1999         S081918    14.77891855
Mendoza, Martin                     12/23/1997         S067678    16.45174538
Mendoza, Ronald Bruce               10/24/1997         S065467    16.61601643
Montes, Joseph Manuel                3/18/1997         S059912     17.2183436
Moore, Charles Edward                12/7/1998         S075726    15.49623546
Moore, Ronald Wayne                  8/16/1999         S081479    14.80629706
Morgan, Edward Patrick               7/19/1996         S055130    17.88090349
Myles, John                          4/23/2001         S097189    13.11978097
Nunez, Daniel                        9/14/2000         S091915      13.724846
Redd, Stephen Moreland               2/28/1997         S059531    17.26762491
Rogers, Glen                         7/16/1999         S080840    14.89117043
Rogers, Ramon Jay                    9/10/1997         S064337    16.73648186
Romero, Gerardo                      5/22/1998         S070686    16.04106776
Rountree, Charles F.                 8/11/1995         S048543    18.81998631
Satele, William                      9/14/2000         S091915      13.724846
Sattiewhite, Christopher James       4/25/1994         S039894    20.11498973
Scott, David Lynn                    3/19/1998         S068863    16.21629021
Soliz, Michael                      12/18/1998         S075616     15.4661191
Solomon, Morris, Jr.                 9/16/1992         S029011    21.71937029
Souza, Matthew Aric                  2/19/1999         S076999     15.2936345
Suff, William Lester                10/26/1995         S049741    18.61190965
Taylor, Brandon Arnae                6/27/1997         S062562    16.94182067
Taylor, Keith Desmond                  6/5/1996        S054774    18.00136893
Thomas, Correll Lamont               10/7/1999         S082828    14.66392882
Thomas, Keith Tyson                  1/16/1998         S067519    16.38603696



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                                                                Time since
                                Date of death   Direct appeal
            Name                                                  death
                                 judgment       case number
                                                                judgment
Thomas, Regis Deon                  8/15/1995        S048337    18.80903491
Trinh, Dung Dinh Anh                4/14/2003        S115284    11.14579055
Valdez, Richard                     6/11/1997        S062180    16.98562628
Vines, Sean Venyette                11/7/1997        S065720    16.57768652
Whisenhunt, Michael McCrea         10/21/1996        S056997    17.62354552
Williams, Corey Leigh              11/15/2000        S093756    13.55509925
Williams, Robert Lee                  8/29/2003      S118629      10.770705
Average time waiting for habeas counsel for inmates whose
direct appeals are concluded                                          15.78
Inmates needing habeas counsel whose direct appeals have
concluded                                                                76
Source: Habeas Corpus Resource Center




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                                                                      Time since
                                   Date of death      Direct appeal
                Name                                                    death
                                    judgment          case number
                                                                      judgment
Solomon, Morris, Jr.                     9/16/1992         S029011    21.71937029
Sattiewhite, Christopher James           4/25/1994         S039894    20.11498973
Jones, Bryan Maurice                     9/16/1994         S042346    19.72073922
Homick, Steven                           1/13/1995         S044592    19.39493498
Bankston, Anthony George                 1/20/1995         S044739    19.37577002
Rountree, Charles F.                     8/11/1995         S048543    18.81998631
Thomas, Regis Deon                       8/15/1995         S048337    18.80903491
Nelson, Sergio Dujuan                     9/7/1995         S048763    18.74606434
Hensley, Paul Loyde                     10/16/1995         S050102    18.63928816
Suff, William Lester                    10/26/1995         S049741    18.61190965
Morelos, Valdamir Fred                   2/21/1996         S051968    18.28884326
Gamache, Richard Cameron                  4/2/1996         S052808    18.17659138
Taylor, Keith Desmond                     6/5/1996         S054774    18.00136893
Morgan, Edward Patrick                   7/19/1996         S055130    17.88090349
Jones, Albert                            9/20/1996         S056364    17.70841889
Whisenhunt, Michael McCrea              10/21/1996         S056997    17.62354552
Case, Charles Edward                    10/25/1996         S057156    17.61259411
Foster, Richard Don                     12/13/1996         S058025    17.47843943
Holmes, Karl Darnell                     1/21/1997         S058734    17.37166324
McClain, Herbert Charles                 1/21/1997         S058734    17.37166324
Newborn, Lorenzo                         1/21/1997         S058734    17.37166324
Redd, Stephen Moreland                   2/28/1997         S059531    17.26762491
Montes, Joseph Manuel                    3/18/1997         S059912     17.2183436
D'Arcy, Jonathan Daniel                  4/11/1997         S060500    17.15263518
McCurdy, Gene Estel                      4/22/1997         S061026    17.12251882
Valdez, Richard                          6/11/1997         S062180    16.98562628
Silveria, Daniel Todd                    6/13/1997         S062417    16.98015058
Travis, John Raymond                     6/13/1997         S062417    16.98015058
Scully, Robert Walter                    6/13/1997         S062259    16.98015058
Taylor, Brandon Arnae                    6/27/1997         S062562    16.94182067
Famalaro, John Joseph                     9/5/1997         S064306    16.75017112
Rogers, Ramon Jay                        9/10/1997         S064337    16.73648186
Scott, Royce Lyn                         9/17/1997         S064858    16.71731691
Smith, Floyd Daniel                     10/16/1997         S065233    16.63791923
Mendoza, Ronald Bruce                   10/24/1997         S065467    16.61601643


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                                                                      Time since
                                   Date of death      Direct appeal
                 Name                                                   death
                                    judgment          case number
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Becerra, Frank Kalil                    10/31/1997         S065573    16.59685147
Vines, Sean Venyette                     11/7/1997         S065720    16.57768652
Lindberg, Gunner Jay                    12/12/1997         S066527    16.48186174
Mendoza, Martin                         12/23/1997         S067678    16.45174538
Clark, William Clinton                  12/29/1997         S066940    16.43531828
Capistrano, John Leo                      1/6/1998         S067394    16.41341547
Frederickson, Daniel Carl                 1/9/1998         S067392    16.40520192
Gonzales, Ivan Joe                       1/13/1998         S067353    16.39425051
Thomas, Keith Tyson                      1/16/1998         S067519    16.38603696
Scott, David Lynn                        3/19/1998         S068863    16.21629021
Lewis, Michael Bernard                    5/1/1998         S069959    16.09856263
Maciel, Luis Pelon                        5/8/1998         S070536    16.07939767
Romero, Gerardo                          5/22/1998         S070686    16.04106776
Gonzales, Veronica Utilia                7/20/1998         S072316    15.87953457
Potts, Thomas                            7/23/1998         S072161    15.87132101
Gutierrez, Alfred Anthony                8/10/1998         S073253     15.8220397
Brasure, Spencer Rawlins                 8/24/1998         S072949    15.78370979
Williams, Jack Emmit                     8/24/1998         S073205    15.78370979
Lopez, Juan Manuel                       9/18/1998         S073597    15.71526352
Martinez, Tommy Jesse                    9/25/1998         S074624    15.69609856
Buenrostro, Dora                         10/2/1998         S073823    15.67693361
Covarrubias, Daniel Sanchez             10/27/1998         S075136    15.60848734
Hartsch, Cisco James                    11/13/1998         S074804    15.56194387
Moore, Charles Edward                    12/7/1998         S075726    15.49623546
Gonzales, John Anthony                  12/18/1998         S075616     15.4661191
Soliz, Michael                          12/18/1998         S075616     15.4661191
Johnson, Cedric Jerome                  12/18/1998         S075727     15.4661191
Loy, Eloy                                1/14/1999         S076175    15.39219713
Charles, Edward, III                     1/15/1999         S076337    15.38945927
Duenas, Enrique Parra                    1/22/1999         S077033    15.37029432
Grimes, Gary Lee                         1/27/1999         S076339    15.35660507
Nguyen, Lam Thanh                        1/28/1999         S076340    15.35386721
Jones, William Alfred, Jr.                2/8/1999         S076721    15.32375086
Blacksher, Erven R.                       2/9/1999         S076582      15.321013
Souza, Matthew Aric                      2/19/1999        S076999      15.2936345
McKinnon, Crandell                        3/5/1999         S077166    15.25530459
Salazar, Magdaleno                       3/12/1999        S077524     15.23613963


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                                                                      Time since
                                   Date of death      Direct appeal
                  Name                                                  death
                                    judgment          case number
                                                                      judgment
Brady, Roger Hoan                        3/16/1999         S078404    15.22518823
Avila, Joseph                            4/29/1999         S078664    15.10472279
Sivongxxay, Vaene                        4/29/1999         S078895    15.10472279
Bacon, Robert Allen                      5/20/1999         S079179    15.04722793
Mora, Joseph Adam                        5/27/1999         S079925    15.02806297
Rangel, Ruben                            5/27/1999         S079925    15.02806297
Linton, Daniel Andrew                    6/17/1999         S080054     14.9705681
Ng, Charles Chitat                       6/30/1999         S080276    14.93497604
Banks, Kelvyn Rondell                     7/8/1999         S080477    14.91307324
Rogers, Glen                             7/16/1999         S080840    14.89117043
Debose, Donald Ray                       7/21/1999         S080837    14.87748118
Jennings, Martin Carl                    7/22/1999         S081148    14.87474333
Enraca, Sonny                            7/23/1999         S080947    14.87200548
Moore, Ronald Wayne                      8/16/1999         S081479    14.80629706
McKinzie, Kenneth                        8/26/1999         S081918    14.77891855
Rhoades, Robert Boyd                     9/10/1999         S082101    14.73785079
Reed, Ennis                              9/29/1999         S082776    14.68583162
Thomas, Correll Lamont                   10/7/1999         S082828    14.66392882
Chhoun, Run Peter                         1/4/2000         S084996     14.4202601
Castaneda, Gabriel                        1/7/2000         S085348    14.41204654
McDowell, Charles Edward                 1/26/2000         S085578    14.36002738
Miles, Johnny Duane                       2/8/2000         S086234    14.32443532
Jackson, Jonathan Keith                  2/18/2000         S086269    14.29705681
Loot, Kendrick                           2/23/2000         S086578    14.28336756
Millsap, Bruce                           2/23/2000         S086578    14.28336756
Gomez, Ruben Perez                       3/31/2000         S087773    14.18206708
Nadey, Giles Albert, Jr.                 4/12/2000         S087560    14.14921287
Henriquez, Christopher                    6/2/2000         S089311    14.00958248
Alvarez, Francisco Jay                   6/28/2000         S089619    13.93839836
Livingston, David James                  7/20/2000         S090499    13.87816564
Nunez, Daniel                            9/14/2000        S091915       13.724846
Satele, William                          9/14/2000         S091915      13.724846
Boyce, Kevin Dewayn                      9/29/2000        S092240     13.68377823
Deen, Omar Richard                       10/5/2000        S092615     13.66735113
Johnson, Jerrold Elwin                   11/9/2000        S093235     13.57152635
Williams, Corey Leigh                   11/15/2000         S093756    13.55509925
Bertsch, John Anthony                   12/19/2000        S093944     13.46201232


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                                                                      Time since
                                   Date of death      Direct appeal
               Name                                                     death
                                    judgment          case number
                                                                      judgment
Hronis, Jeffery Lee                     12/19/2000         S093944    13.46201232
Manibusan, Joseph Kekoa                  1/24/2001         S094890    13.36344969
Penunuri, Richard                        1/31/2001         S095076    13.34428474
Kopatz, Kim Raymond                      3/21/2001         S097414    13.21013005
Poynton, Richard James                    4/9/2001         S096809    13.15811088
Myles, John                              4/23/2001         S097189    13.11978097
Garton, Todd Jesse                       4/27/2001         S097558    13.10882957
Shermantine, Wesley Howard, Jr.          5/16/2001         S097668     13.0568104
Zaragoza, Louis Rangel                   5/22/2001         S097886     13.0403833
Cooper, Leon Chauncey                    5/25/2001         S099770    13.03216975
Brooks, Donald Lewis                     7/16/2001         S099274    12.88980151
Krebs, Rex Allan                         7/20/2001         S099439     12.8788501
Ramirez, Juan Villa                      7/20/2001         S099844     12.8788501
Landry, Daniel Gary                      9/11/2001         S100735    12.73374401
Vargas, Eduardo David                    10/4/2001         S101247    12.67077344
Chism, Calvin Dion                      10/24/2001         S101984    12.61601643
Simon, Richard Nathan                    11/2/2001         S102166    12.59137577
Barrera, Marco Esquivel                 12/13/2001         S103358    12.47912389
Poore, Christopher Eric                  2/20/2002         S104665    12.29021218
Chhoun, Run Peter                        3/12/2002         S105403    12.23545517
Pan, Samreth Sam                         3/13/2002         S105403    12.23271732
Caro, Socorro Susan                       4/5/2002         S106274    12.16974675
Crawford, Charles Edward                  6/7/2002         S107653    11.99726215
Wright, William Lee                      6/14/2002         S107900    11.97809719
Jackson, Michael Anthony                 9/20/2002         S110206    11.70978782
Daveggio, James Anthony                  9/25/2002         S110294    11.69609856
Michaud, Michelle Lyn                    9/25/2002         S110294    11.69609856
Acremant, Robert James                   10/4/2002         S110804    11.67145791
Smith, Paul Gordon, Jr.                  12/6/2002         S112442    11.49897331
Stayner, Cary Anthony                   12/12/2002         S112146     11.4825462
Westerfield, David Alan                   1/6/2003         S112691    11.41409993
Hardy, Warren Justin                     1/23/2003         S113421    11.36755647
Parker, Calvin Lamont                    2/24/2003         S113962    11.27994524
Schultz, Michael Joseph                  3/26/2003         S114671    11.19780972
Trinh, Dung Dinh Anh                     4/14/2003         S115284    11.14579055
Woodruff, Steve                          4/17/2003         S115378      11.137577
Sandoval, Ramon, Jr.                      5/9/2003         S115872    11.07734428


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                                                                       Time since
                                     Date of death     Direct appeal
                 Name                                                    death
                                      judgment         case number
                                                                       judgment
Flores, Alfred, III                        5/19/2003        S116307    11.04996578
Winbush, Grayland                          7/11/2003        S117489    10.90485969
Adams, Marcus                              7/30/2003        S118045    10.85284052
Miranda Guerrero, Victor M.                 8/4/2003        S118147    10.83915127
Melendez, Angelo Michael                   8/18/2003        S118384    10.80082136
Wilson, Javance Mickey                     8/27/2003        S118775     10.7761807
Williams, Robert Lee                       8/29/2003        S118629      10.770705
Battle, Thomas                              9/4/2003        S119296    10.75427789
Sanchez, Vincent Henry                     11/4/2003        S120382    10.58726899
Cage, Micky Ray                           11/14/2003        S120583    10.55989049
Steskal, Maurice Gerald                     2/6/2004        S122611    10.32991102
Flinner, Michael William                   3/29/2004        S123813    10.18754278
Barrett, Joseph Anthony                     4/5/2004        S124131    10.16837782
Inmates without habeas counsel for more than ten years                         159
Source: Habeas Corpus Resource Center




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                                                Number of death
                   Year
                                                   judgments
                                        2009                    30
                                        2010                    34
                                        2011                    11
                                        2012                    14
                                        2013                    25
Average death judgments 2009-2013                             22.8
Source: California Appellate Project, California Supreme Court
Automatic Appeals Monitor, and Habeas Corpus Resource Center




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                                                     Number of
                      Year                             habeas
                                                    appointments
                                              2009              14
                                              2010              14
                                              2011               9
                                              2012               6
                                              2013               4
Average habeas appointments 2009-2013                          9.4
Source: California Appellate Project, California Supreme Court
Automatic Appeals Monitor, and Habeas Corpus Resource Center




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                                              Number of cases with
                                              replacement counsel

                                            Note: Numbers include cases
                                                                            Percentage of cases
            Number of 1st petitions or      where replacement occurred
                                                                                for which
   Years     amended petitions filed       before case initiated or during
                                                                           replacement counsel
               during these years            informal briefing; numbers
                                                                              was appointed
                                         exclude cases where replacement
                                          occurred after informal briefing
                                            or after the 1st habeas case
                                                       closed

2003-2007                          106                                 19                17.93
2008-2013                           86                                 21                24.42
2003-2013                          192                                 40                 21%
Source: Habeas Corpus Resource Center




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                               2005-2006 2006-2007 2007-2008 2008-2009 2009-2010 2010-2011 2011-2012 2012-2013
HCRC appointments: habeas
corpus only                              10           12             7            8            5             3            1     2
Total habeas corpus
appointments per year                    20           18           16            13           13           12             9     4
Percentage of habeas
appointments HCRC has
accepted                               50%          67%          44%           62%          38%          25%           11%    50%
Average percentage of habeas
appointments HCRC has
                                                                                 43%
accepted FY 2005-2006
through 2012-2013
Source: California Appellate Project, California Supreme Court Automatic Appeals Monitor, and Habeas Corpus Resource Center




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Number of HCRC 1st petitions from 2009-2014 (excluding initial
                                                                           35
petitions not yet amended)
Number of non-HCRC 1st petitions from 2009-2014 (excluding
                                                                           58
initial petitions not yet amended)
Average percentage of 1st petitions 2009-2014 filed by HCRC              38%
Source: California Appellate Project, California Supreme Court Automatic
Appeals Monitor, and Habeas Corpus Resource Center




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 State
          Time to file
habeas                   Time to file    Time to
           informal
 case                      reply         decision
           response
number

S129612
          0.394250513    0.421629021    6.406570842
S125670
           0.45174538    0.678986995    2.795345654
S129603
          0.481861739    0.260095825    5.869952088
S123149
          0.334017796    0.539356605    0.186173854
S128874
          0.238193018    0.572210815     3.58384668
S126032
          0.410677618    0.386036961    4.180698152
S129510
          0.851471595    0.684462697    6.997946612
S126085
          0.728268309    1.119780972    5.303216975
S130263
          0.084873374    0.123203285
S125276
          0.610540726    0.840520192    4.796714579
S127630
          0.514715948    0.635181383    2.245037645
S126851
          0.377823409    0.462696783    2.340862423
S122460
           1.67008898    1.492128679    1.615331964
S126781
          0.509240246    0.736481862    3.110198494
S122097
          0.536618754    0.580424367     4.93908282
S122545
          0.240930869    0.432580424    5.848049281
S123962
          0.563997262    0.774811773    1.051334702
S125755
          0.421629021    1.021218344     2.05065024
S124998
          0.525667351    0.375085558    4.900752909
S130314
          0.262833676    1.771389459     2.88843258



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  State
           Time to file
 habeas                   Time to file     Time to
            informal
  case                      reply          decision
            response
 number

S122384
           0.889801506     0.777549624    1.021218344
S124851
           0.711841205     0.413415469    4.210814511
S128008
             0.45174538    0.673511294    6.746064339
Average             0.53           0.69           3.78
Source: Habeas Corpus Resource Center




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                                          State habeas     First full
                       Name                                               Years pending
                                          case number    petition filed

Champion, Steve Allen                         S065575        11/5/1997      16.56947296
Rogers, David Keith                           S084292       12/14/1999      14.46406571
Carter, Tracey Lavell                         S096438          4/2/2001     13.16358658
Welch, David Esco                             S107782        6/24/2002      11.93702943
Ray, Clarence, Jr.                            S110219        9/27/2002      11.67693361
Benavides, Vicente Figueroa                   S111336       11/12/2002      11.55099247
Morrison, Jesse                               S115559          5/2/2003     11.08281999
Stitely, Richard                              S115894        5/15/2003      11.04722793
Davis, Stanley Bernard                        S116750        6/16/2003       10.9596167
Holt, John Lee                                S116794        6/18/2003        10.954141
Lewis, Robert, Jr.                            S117235          7/2/2003     10.91581109
Griffin, Donald                               S118650          9/2/2003     10.74606434
Tafoya, Ignacio Arriola                       S120020       10/27/2003      10.59548255
Williams, David Earl                          S121187       12/12/2003      10.46954141
Jackson, Noel                                 S129989       12/16/2004      9.456536619
Gay, Kenneth Earl                             S130263       12/28/2004      9.423682409
Masters, Jarvis J.                            S130495          1/7/2005     9.396303901
Hovarter, Jackie Ray                          S133770          5/9/2005     9.062286105
Guerra, Jose Francisco                        S134332          6/1/2005     8.999315537
Cook, Walter Joseph                           S136687        8/24/2005      8.769336071
Wallace, Keone                                S140077          1/4/2006     8.405201916
Hernandez, Jesus Cianez                       S141716          3/7/2006     8.235455168
Riccardi, John Alexander                      S143058          5/1/2006     8.084873374
Harris, Lanell Craig                          S144756          7/3/2006     7.912388775
Richardson, Charles Keith                     S148523        12/5/2006      7.488021903
Snow, Prentice Juan                           S121365       12/18/2006      7.452429843
Welch, David Esco                             S149222          1/4/2007     7.405886379
Friend, Jack Wayne                            S150208        2/13/2007      7.296372348
Ray, Clarence, Jr.                            S150974        3/14/2007      7.216974675
Letner, Richard Lacy                          S151222        3/26/2007      7.184120465
Miranda, Adam                                 S151264        3/26/2007      7.184120465


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                                          State habeas     First full
                      Name                                                Years pending
                                          case number    petition filed

Tobin, Christopher Allan                      S151243        3/26/2007      7.184120465
Box, Christopher Clark                        S153345          6/8/2007     6.981519507
Davenport, John Galen                         S155689        8/23/2007      6.773442847
Williams, George Brett                        S156682        9/27/2007       6.67761807
Bunyard, Jerry Thomas                         S157098        10/9/2007       6.64476386
Whalen, Daniel Lee                            S157184       10/15/2007      6.628336756
Robinson, James                               S141320       10/23/2007      6.606433949
Cowan, Robert Wesley                          S158073        11/9/2007      6.559890486
Lynch, Franklin                               S158710        12/3/2007      6.494182067
Bennett, Eric Wayne                           S159540          1/2/2008     6.412046543
Manriquez, Abelino                            S141210        1/10/2008      6.390143737
Virgil, Lester Wayne                          S160814        2/13/2008       6.29705681
Ervine, Dennis Newton                         S162212          4/1/2008     6.165639973
Burton, Andre                                 S162260          4/2/2008     6.162902122
Farnam, Jack Gus                              S162381          4/3/2008     6.160164271
Slaughter, Michael Corey                      S167303        10/3/2008      5.659137577
Lenart, Thomas Howard                         S167453       10/10/2008      5.639972621
Lucas, David Allen                            S168103        11/6/2008       5.56605065
Smith, Gregory Scott                          S138147        1/30/2009      5.333333333
Elliot, Michael Lee                           S140140        2/23/2009      5.267624914
Ward, Carmen Lee                              S142694        3/13/2009        5.2183436
Watkins, Paul Sodoa                           S172438        4/28/2009      5.092402464
Bell, Steven M.                               S151362        6/22/2009      4.941820671
Abel, John Clyde                              S175275          8/4/2009     4.824093087
Gonzalez, Jesse Edward                        S175344          8/7/2009     4.815879535
Pearson, Michael Nevail                       S175920        8/31/2009      4.750171116
Lightsey, Christopher Charles                 S176414        9/17/2009      4.703627652
Jenkins, Daniel Steven                        S176494        9/21/2009      4.692676249
Dalton, Kerry Lyn                             S178504        12/7/2009      4.481861739
Moon, Richard Russell                         S178977       12/23/2009      4.438056126
Brown, John George                            S179645        1/21/2010      4.358658453
Romero, Gerardo                               S167166        1/21/2010      4.358658453
Barnwell, Lamar                               S158842        1/22/2010      4.355920602


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                                          State habeas     First full
                      Name                                                Years pending
                                          case number    petition filed

Adcox, Keith Edward                           S180912        3/12/2010      4.221765914
Carey, Dewayne Michael                        S157242        3/22/2010      4.194387406
Leonard, Eric Royce                           S153974        3/22/2010      4.194387406
Riggs, Billy Ray                              S173875        5/13/2010      4.052019165
Slaughter, Michael Corey                      S183839        5/21/2010      4.030116359
Lancaster, Andrew                             S154541          6/1/2010               4
Mungia, John                                  S166477          6/1/2010               4
Williams, Bob Russell, Jr.                    S183405          6/9/2010     3.978097194
Lindberg, Gunner Jay                          S173896        6/11/2010      3.972621492
Rangel, Pedro, Jr.                            S183606        6/17/2010      3.956194387
Zamudio, Samuel Jimenez                       S167100        6/28/2010      3.926078029
Roldan, Ricardo                               S185447        8/16/2010       3.79192334
Raley, David Allen                            S185736        8/25/2010      3.767282683
Thornton, Mark Scott                          S158512        9/21/2010      3.693360712
Harris, Willie Leo                            S187337       10/15/2010      3.627652293
Moon, Richard Russell                         S189159       10/22/2010      3.608487337
O'Malley, James Francis                       S187622       10/26/2010      3.597535934
Kelly, Douglas Oliver                         S161036        12/7/2010      3.482546201
Ledesma, Fermin Rodriguez                     S147702       12/10/2010      3.474332649
Webb, Dennis Duane                            S190098        1/25/2011      3.348391513
Blair, James Nelson                           S190217        1/31/2011      3.331964408
Eubanks, Susan Dianne                         S190405          2/7/2011     3.312799452
Burney, Shaun Kareem                          S190968        2/28/2011      3.255304586
Streeter, Howard Larcell                      S191287          3/9/2011     3.230663929
Tully, Richard Christopher                    S191449        3/16/2011      3.211498973
Carrasco, Robert                              S191869          4/1/2011     3.167693361
Pearson, Kevin Darnell                        S191872          4/1/2011     3.167693361
Watson, Paul Gregory                          S167108        4/15/2011       3.12936345
Loker, Keith Thomas                           S167792        4/29/2011      3.091033539
Elliott, Marchand                             S192958          5/9/2011     3.063655031
Samuels, Mary Ellen                           S193440        5/26/2011      3.017111567
Weaver, La Twon Regenial                      S193534        5/31/2011      3.003422313
Geier, Christopher Adam                       S193602          6/2/2011     2.997946612


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                                          State habeas     First full
                     Name                                                 Years pending
                                          case number    petition filed

Horning, Danny Ray                            S194705        7/11/2011      2.891170431
Beames, John Michael                          S195127        7/27/2011      2.847364819
Prince, Cleophus, Jr.                         S155510        7/27/2011      2.847364819
Hinton, Eric Lamont                           S195922        8/26/2011      2.765229295
Danks, Joseph Martin                          S196398        9/13/2011      2.715947981
Turner, Richard Dean                          S196910        10/3/2011      2.661190965
Geier, Christopher Adam                       S198025       10/11/2011      2.639288159
Doolin, Keith Zon                             S197391       10/24/2011      2.603696099
Wheeler, LeRoy                                S197586       10/31/2011      2.584531143
Lomax, Darrell Lee                            S197707        11/3/2011      2.576317591
Romero, Orlando Gene                          S197824        11/9/2011      2.559890486
Thompson, Catherine                           S192701       11/16/2011       2.54072553
Curl, Robert Zane                             S180828        1/30/2012      2.335386721
Contreras, George Lopez                       S199915          2/6/2012     2.316221766
DeHoyos, Richard Lucio                        S199918          2/6/2012     2.316221766
Bryant, Stanley                               S200323        2/23/2012      2.269678303
Brown, Steven Allen                           S200366        2/27/2012      2.258726899
Self, Christopher                             S200464          3/1/2012     2.250513347
Hamilton, Bernard Lee                         S174549        3/19/2012      2.201232033
Alexander, Andre Stephen                      S191587        4/13/2012      2.132785763
Howard, Demetrius Charles                     S196958        4/30/2012        2.0862423
McWhorter, Richard                            S180404        5/18/2012      2.036960986
Avila, Johnny, Jr.                            S203288        6/14/2012      1.963039014
Farley, Richard Wade                          S179795        6/14/2012      1.963039014
Johnson, Michael Raymond                      S203329        6/15/2012      1.960301164
Seumanu, Ropati                               S203852          7/9/2012     1.894592745
Lindberg, Gunner Jay                          S204545          8/3/2012     1.826146475
Hajek, Stephen Edward                         S204529          8/6/2012     1.817932923
Vo, Loi Tan                                   S204795        8/20/2012      1.779603012
Navarette, Martin Anthony                     S204865        8/22/2012       1.77412731
Horning, Danny Ray                            S206764        8/24/2012      1.768651608
Valencia, Alfredo                             S167195        8/27/2012      1.760438056
George, Johnaton Sampson                      S205750        10/2/2012      1.661875428


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                                          State habeas     First full
                      Name                                                Years pending
                                          case number    petition filed

Lenart, Thomas Howard                         S205999       10/15/2012      1.626283368
Parker, Gerald                                S206006       10/15/2012      1.626283368
Beck, James David                             S206945       11/28/2012      1.505817933
Cruz, Gerald Dean                             S206963       11/28/2012      1.505817933
Lewis, Albert                                 S207075        12/4/2012      1.489390828
Mai, Hung Thanh                               S208180       12/24/2012      1.434633812
Nieves, Sandi Dawn                            S207902          1/9/2013       1.3908282
Powell, Carl Devon                            S208154        1/22/2013       1.35523614
Gonzalez, Jesse Edward                        S208922        2/27/2013      1.256673511
Johnson, Lumord                               S209679          4/2/2013     1.163586585
Turner, Melvin                                S210095        4/19/2013      1.117043121
Hawthorne, Carlos Anthony                     S176951        4/22/2013      1.108829569
Mills, Jeffery Jon                            S188459        4/22/2013      1.108829569
Butler, Raymond Oscar                         S178123        6/10/2013       0.97467488
Martinez, Michael Matthew                     S180670        6/17/2013      0.955509925
Merriman, Justin James                        S212038        7/15/2013      0.878850103
Wilson, Andre Gerald                          S166315        7/22/2013      0.859685147
Lopez, Michael Augustine                      S212256        7/24/2013      0.854209446
Spencer, Christopher Alan                     S212368        7/29/2013      0.840520192
Barnett, Lee Max                              S212998        8/27/2013      0.761122519
Valdez, Alfredo Reyes                         S213143          9/4/2013     0.739219713
Huggins, Michael James                        S213717        10/1/2013      0.665297741
Hawthorne, Anderson, Jr.                      S213911       10/10/2013      0.640657084
Clark, Royal                                  S214078       10/18/2013      0.618754278
Perry, Clifton                                S214222       10/25/2013      0.599589322
Edwards, Robert Mark                          S214543       11/12/2013      0.550308008
Weatherton, Fred Lewis                        S214555       11/12/2013      0.550308008
Pollock, Milton Ray                           S214789       11/21/2013      0.525667351
Salcido, Ramon Bojorquez                      S214863       11/27/2013      0.509240246
Jablonski, Phillip Carl                       S215450       12/24/2013      0.435318275
Leon, Richard                                 S215554       12/30/2013       0.41889117
Thompson, James Alvin                         S188525        1/24/2014      0.350444901
Verdugo, Nathan James                         S190666        1/27/2014      0.342231348


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                                              State habeas      First full
                      Name                                                     Years pending
                                              case number     petition filed

Bolden, Clifford Stanley                            S216632        2/20/2014      0.27652293
Townsel, Anthony Letrice                            S216626        2/20/2014      0.27652293
Cook, Joseph Lloyd                                  S217150        3/14/2014     0.216290212
Lee, Philian Eugene                                 S194609        3/19/2014     0.202600958
Chatman, Erik Sanford                               S217244        3/20/2014     0.199863107
Hoyt, Ryan James                                    S217299        3/24/2014     0.188911704
Peoples, Louis James                                S217369        3/26/2014     0.183436003
Bramit, Michael Lamar                               S178113        4/25/2014     0.101300479
Sapp, John                                          S218046        4/25/2014     0.101300479
Ghobrial, John Samuel                               S218292         5/5/2014     0.073921971
Jones, Kiongozi                                     S218551        5/15/2014     0.046543463
Booker, Richard Lonnie                              S196994        5/19/2014      0.03559206
Smith, Robert Lee                                   S218736        5/19/2014      0.03559206

Average years all petitions have been pending (excludes initial petitions)              4.07
Source: Habeas Corpus Resource Center




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                                                          Time waiting
                               State
                                        Date reply to       for CSC
                              habeas
             Name                         informal          decision
                               case
                                        response filed   (includes OSC
                              number
                                                              cases)
Abel, John Clyde
                              S175275         8/8/2011     2.828199863
Adcox, Keith Edward
                              S180912        11/4/2011     2.587268994
Avila, Johnny, Jr.
                              S203288         3/4/2014     0.257357974
Barnwell, Lamar
                              S158842         7/5/2012     1.919233402
Beames, John Michael
                              S195127      12/20/2012       1.45927447
Bell, Steven M.
                              S151362        9/28/2010      3.68788501
Benavides, Vicente Figueroa
                              S111336      12/21/2012      1.456536619
Bennett, Eric Wayne
                              S159540        5/28/2010     4.024640657
Blair, James Nelson
                              S190217         5/5/2011     3.088295688
Box, Christopher Clark
                              S153345        9/24/2008     5.697467488
Brown, John George
                              S179645 Not applicable       4.112251882
Brown, Steven Allen
                              S200366        7/17/2013     0.887063655
Bunyard, Jerry Thomas
                              S157098        10/7/2010     3.663244353
Burney, Shaun Kareem
                              S190968        10/9/2012     1.656399726
Carey, Dewayne Michael
                              S157242        9/28/2011     2.688569473
Carter, Tracey Lavell
                              S096438        8/19/2002     11.79739904
Contreras, George Lopez
                              S199915         1/8/2014     0.407939767
Cowan, Robert Wesley
                              S158073      10/22/2008      5.620807666
Curl, Robert Zane
                              S180828         5/9/2014     0.076659822



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                                                          Time waiting
                              State
                                        Date reply to       for CSC
                             habeas
             Name                         informal          decision
                              case
                                        response filed   (includes OSC
                             number
                                                              cases)
Dalton, Kerry Lyn
                              S178504         6/2/2014     0.010951403
Danks, Joseph Martin
                              S196398        6/22/2012     1.954825462
Davenport, John Galen
                              S155689        5/15/2009     5.059548255
Davis, Stanley Bernard
                              S116750         4/9/2004     10.15742642
DeHoyos, Richard Lucio
                              S199918        12/2/2013     0.509240246
Doolin, Keith Zon
                              S197391      12/28/2012      1.437371663
Elliot, Michael Lee
                              S140140        2/14/2011     3.307323751
Elliott, Marchand
                              S192958      11/19/2012      1.544147844
Ervine, Dennis Newton
                              S162212        3/15/2010     4.227241615
Eubanks, Susan Dianne
                              S190405        9/20/2012     1.708418891
Farley, Richard Wade
                              S179795        10/7/2013      0.66255989
Farnam, Jack Gus
                              S162381        6/26/2009     4.944558522
Friend, Jack Wayne
                              S150208        5/28/2008     6.023271732
Gay, Kenneth Earl
                              S130263        3/14/2005     9.229295003
Geier, Christopher Adam
                              S193602         2/4/2013     1.333333333
Geier, Christopher Adam
                              S198025         2/4/2013     1.333333333
Gonzalez, Jesse Edward
                              S175344         8/2/2010     3.843942505
Gonzalez, Jesse Edward
                              S208922        7/23/2013      0.87063655
Hamilton, Bernard Lee
                              S174549      10/30/2013      0.599589322
Harris, Lanell Craig
                              S144756        3/13/2009     5.232032854
Harris, Willie Leo
                              S187337        6/19/2012     1.963039014



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                                                            Time waiting
                                 State
                                          Date reply to       for CSC
                                habeas
             Name                           informal          decision
                                 case
                                          response filed   (includes OSC
                                number
                                                                cases)
Hinton, Eric Lamont
                                S195922         4/5/2012     2.168377823
Horning, Danny Ray
                                S194705        1/15/2014     0.388774812
Hovarter, Jackie Ray
                                S133770         6/4/2007     7.006160164
Howard, Demetrius Charles
                                S196958        3/17/2014     0.221765914
Huggins, Michael James
                                S213717        2/11/2014     0.314852841
Jablonski, Phillip Carl
                                S215450         5/8/2014     0.079397673
Jenkins, Daniel Steven
                                S176494         7/5/2011      2.92128679
Kelly, Douglas Oliver
                                S161036         3/4/2013     1.256673511
Lancaster, Andrew
                                S154541        7/30/2013     0.851471595
Ledesma, Fermin Rodriguez
                                S147702      10/31/2012      1.596167009
Lenart, Thomas Howard
                                S167453         6/4/2010     4.005475702
Lenart, Thomas Howard
                                S205999        1/25/2013     1.360711841
Leonard, Eric Royce
                                S153974        1/23/2012     2.368240931
Letner, Richard Lacy
                                S151222        3/18/2011     3.219712526
Lewis, Albert
                                S207075        8/12/2013     0.815879535
Lewis, Robert, Jr.
                                S117235        4/16/2004     10.13826146
Lightsey, Christopher Charles
                                S176414         2/3/2011      3.33744011
Loker, Keith Thomas
                                S167792        6/25/2012      1.94661191
Lucas, David Allen
                                S168103        3/22/2010      4.20807666
Lynch, Franklin
                                S158710         4/1/2010     4.180698152
Manriquez, Abelino
                                S141210        6/30/2009     4.933607118



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                                                          Time waiting
                              State
                                        Date reply to       for CSC
                             habeas
             Name                         informal          decision
                              case
                                        response filed   (includes OSC
                             number
                                                              cases)
Masters, Jarvis J.
                              S130495        9/19/2005     8.711841205
McWhorter, Richard
                              S180404      11/18/2013      0.547570157
Miranda, Adam
                              S151264         2/6/2008      6.32991102
Mungia, John
                              S166477        7/23/2012     1.869952088
Navarette, Martin Anthony
                              S204865         3/4/2013     1.256673511
Nieves, Sandi Dawn
                              S207902        2/28/2014     0.268309377
O'Malley, James Francis
                              S187622         3/5/2013     1.253935661
Pearson, Kevin Darnell
                              S191872         4/3/2012     2.173853525
Pearson, Michael Nevail
                              S175920        1/18/2013     1.379876797
Prince, Cleophus, Jr.
                              S155510        9/23/2013     0.700889802
Rangel, Pedro, Jr.
                              S183606         3/8/2012     2.245037645
Ray, Clarence, Jr.
                              S110219        1/21/2003     11.37303217
Ray, Clarence, Jr.
                              S150974        2/15/2008     6.305270363
Riccardi, John Alexander
                              S143058        10/8/2009      4.65982204
Robinson, James
                              S141320        3/24/2009     5.201916496
Rogers, David Keith
                              S084292        2/25/2002     12.27652293
Roldan, Ricardo
                              S185447        5/30/2012      2.01779603
Romero, Gerardo
                              S167166        9/23/2013     0.700889802
Romero, Orlando Gene
                              S197824      10/30/2012       1.59890486
Samuels, Mary Ellen
                              S193440 Not applicable       2.855578371
Seumanu, Ropati
                              S203852         3/3/2014     0.260095825



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                                                          Time waiting
                              State
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                             habeas
            Name                          informal          decision
                              case
                                        response filed   (includes OSC
                             number
                                                              cases)
Slaughter, Michael Corey
                              S167303        5/21/2010     4.043805613
Slaughter, Michael Corey
                              S183839         9/2/2010     3.759069131
Smith, Gregory Scott
                              S138147        3/22/2011     3.208761123
Snow, Prentice Juan
                              S121365      11/16/2009      4.553045859
Streeter, Howard Larcell
                              S191287         2/8/2013      1.32238193
Thompson, Catherine
                              S192701        6/27/2013     0.941820671
Thornton, Mark Scott
                              S158512        7/25/2012     1.864476386
Tobin, Christopher Allan
                              S151243        5/12/2011     3.069130732
Tully, Richard Christopher
                              S191449         7/3/2013     0.925393566
Turner, Melvin
                              S210095        12/5/2013     0.501026694
Turner, Richard Dean
                              S196910        1/30/2013     1.347022587
Valdez, Alfredo Reyes
                              S213143        1/30/2014      0.34770705
Virgil, Lester Wayne
                              S160814         3/6/2012     2.250513347
Ward, Carmen Lee
                              S142694        4/15/2011     3.143052704
Watkins, Paul Sodoa
                              S172438        11/3/2010     3.589322382
Watson, Paul Gregory
                              S167108        8/21/2013     0.791238877
Weaver, La Twon Regenial
                              S193534         6/4/2013     1.004791239
Webb, Dennis Duane
                              S190098         5/9/2011     3.077344285
Welch, David Esco
                              S107782      10/15/2003      10.64202601
Welch, David Esco
                              S149222        9/12/2007     6.732375086
Whalen, Daniel Lee
                              S157184        10/8/2008     5.659137577



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                                                             Time waiting
                                 State
                                          Date reply to        for CSC
                                habeas
            Name                            informal           decision
                                 case
                                          response filed    (includes OSC
                                number
                                                                 cases)
Williams, Bob Russell, Jr.
                                S183405       12/14/2011      2.477754962
Williams, David Earl
                                S121187         6/9/2005      8.991101985
Williams, George Brett
                                S156682        5/10/2010      4.073921971
Zamudio, Samuel Jimenez
                                 S167100        11/1/2012     1.593429158
Average time fully briefed cases have been waiting
(including OSC cases)                                                3.132

Source: Habeas Corpus Resource Center




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                                 State    Date reply to              Time between
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               Name           habeas case  informal                    reply and
                                                         disposition
                               number response filed                 CSC decision



Allen, Michael Damone            S162508     12/8/2009    3/28/2012   2.302532512
Avila, Johnny, Jr.               S116554     2/28/2005    6/15/2011   6.291581109
Beames, John Michael             S153603     9/17/2008    7/28/2010   1.859000684
Blair, James Nelson              S144759    12/13/2007     9/9/2009   1.741273101
Bonilla, Steven Wayne            S129612     9/26/2005    2/22/2012   6.406570842
Boyer, Richard Delmer            S101970     8/22/2002    6/17/2009   6.819986311
Brown, Andrew Lamont             S125670      8/4/2005    5/21/2008   2.795345654
Burgener, Michael Ray            S093551      9/4/2002    6/17/2009   6.784394251
Burney, Shaun Kareem             S133439    12/26/2006   12/17/2009   2.976043806
Carasi, Paul Joe                 S129603     8/29/2005    7/13/2011   5.869952088
Carrington, Celeste Simone       S142464      8/3/2007    9/15/2010   3.118412047
Chatman, Erik Sanford            S114982     2/27/2004   12/10/2008   4.785763176
Clark, Royal                     S142741    11/16/2007    1/11/2012   4.153319644
Cole, Stephen                    S128874     8/24/2005    3/25/2009    3.58384668
Collins, Scott Forrest           S136461      9/5/2006    9/25/2013   7.055441478
Combs, Michael Stephen           S134705     2/14/2008    7/11/2012   4.405201916
Cook, Joseph Lloyd               S160915     3/17/2011    9/12/2012   1.492128679
Cornwell, Glen                   S126032     4/19/2005    6/24/2009   4.180698152
Cruz, Tomas Verano               S129510     6/13/2006    6/12/2013   6.997946612
Danks, Joseph Martin             S121004      2/7/2005    9/15/2010    5.60164271
Davis, Richard Allen             S157917     7/31/2009    1/23/2013   3.482546201
Demetrulias, Gregory Spiros      S136487     6/18/2007    9/17/2008    1.25119781
DePriest, Timothy Lee            S136672      7/6/2009     5/1/2013   3.819301848
Doolin, Keith Zon                S137884     7/17/2006    6/24/2009   2.937713895
Dunkle, Jon Scott                S119946    10/25/2004    12/2/2009   5.103353867
Dykes, Ernest Edward             S126085     5/12/2006    8/31/2011   5.303216975


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                                   State    Date reply to              Time between
                                                          Date of CSC
             Name               habeas case  informal                    reply and
                                                           disposition
                                 number response filed                 CSC decision



Fuiava, Freddie                    S161608    11/24/2009    4/30/2014   4.429842574
Geier, Christopher Adam            S147393      7/6/2009     6/9/2010   0.925393566
Halvorsen, Arthur Hans             S130342    12/21/2005    2/20/2013   7.167693361
Harris, Maurice Lydell             S139789     9/27/2011    5/15/2013   1.631759069
Harrison, Cedric Seth              S130762     1/17/2007    6/10/2009   2.395619439
Hinton, Eric Lamont                S125276    11/14/2005     9/1/2010   4.796714579
Horning, Danny Ray                 S137676     3/16/2010    5/12/2010   0.156057495
Houston, Eric Christopher          S190730     11/5/2012   11/26/2013   1.056810404
Howard, Alphonso                   S144008     5/31/2007    7/18/2012   5.133470226
Hoyos, Jaime Armando               S146472     7/11/2008    2/18/2009   0.607802875
Huggins, Michael James             S127630     11/1/2005    1/30/2008   2.245037645
Johnson, Cleamon                   S180946     1/21/2011    3/28/2012    1.18275154
Jones, Ernest Dewayne              S110791     12/8/2003    3/11/2009   5.256673511
Jurado, Robert J.                  S136327      7/9/2007    7/23/2008   1.040383299
Kennedy, Jerry Noble               S138625      6/1/2010    9/18/2013   3.299110198
Lewis, Albert                      S120420      5/6/2004    8/18/2010   6.283367556
Lewis, John Irvin                  S139017     6/11/2007    1/19/2011   3.608487337
Marlow, James Gregory              S101172     8/26/2002   10/22/2008    6.15742642
Marlow, James Gregory              S101171     8/26/2002   10/22/2008    6.15742642
Maury, Robert Edward               S122460      4/5/2010   11/16/2011   1.615331964
Monterroso, Christian Antonio      S120980     1/16/2008    6/20/2012   4.427104723
Moon, Richard Russell              S126781    10/31/2005   12/10/2008   3.110198494
Navarette, Martin Anthony          S122097      9/8/2006    8/17/2011    4.93908282
Oliver, Anthony Cedric             S122545    10/12/2004    8/18/2010   5.848049281
Perry, Clifton                     S138225     1/24/2007    7/27/2011   4.503764545
Ramos, William James               S175417     4/29/2010    8/22/2012   2.316221766
Roldan, Ricardo                    S115143     8/11/2003    8/12/2009   6.004106776
Roybal, Rudolph Jose               S156846    12/23/2008     1/3/2013   4.030116359


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                                   State    Date reply to              Time between
                                                          Date of CSC
             Name               habeas case  informal                    reply and
                                                           disposition
                                 number response filed                 CSC decision



Rundle, David Allen                S130722       6/16/2006     6/25/2008    2.026009582
Salcido, Ramon Bojorquez           S091159        7/3/2002     5/20/2009    6.880219028
Samuels, Mary Ellen                S124998       4/15/2005     3/10/2010    4.900752909
Sapp, John                         S130314       1/12/2007     12/2/2009     2.88843258
Schmeck, Mark Lindsey              S131578       8/24/2006    11/13/2013    7.222450376
Smith, Robert Lee                  S144019       4/16/2009     6/15/2011    2.162902122
Stanley, Darren Cornelius          S106165     11/25/2002       7/8/2009    6.617385352
Stevens, Charles                   S119354       3/26/2004     8/26/2009    5.418206708
Turner, Richard Dean               S124851        7/2/2005     9/17/2009    4.210814511
Vieira, Richard John               S147688     12/10/2007      6/24/2009    1.538672142
Williams, Bob Russell, Jr.         S137389     11/13/2006      6/10/2009     2.57357974
Williams, Dexter Winfred           S128008       11/9/2005      8/8/2012    6.746064339
Wilson, Lester Harland             S152074       8/19/2009     6/30/2010    0.862422998
Zambrano, Enrique                  S116021       2/17/2004      8/12/2009   5.483915127
Average years between reply and decision for 1st petitions with
dispositions 2008-2014 (excluding OSC cases and cases dismissed due to
death)                                                                             3.98
Source: Habeas Corpus Resource Center




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                                       PARAGRAPH 15




                                                                                    Time between death
                                 State habeas   Date of death     Date of CSC         judgment and
                Name
                                 case number     judgment          disposition        decision for 1st
                                                                                          petition
Avila, Johnny, Jr.                   S116554          3/29/1995         6/15/2011          16.21355236
Beames, John Michael                 S153603       10/11/1995           7/28/2010          14.79534565
Blair, James Nelson                  S144759           8/9/1989          9/9/2009          20.08487337
Bolden, Clifford Stanley             S099231          7/19/1991         6/10/2009          17.89459274
Bonilla, Steven Wayne                S129612          1/20/1995         2/22/2012          17.08966461
Boyer, Richard Delmer                S101970       10/23/1992           6/17/2009          16.64887064
Boyette, Maurice                     S092356           5/7/1993         8/28/2013          20.30937714
Brown, Andrew Lamont                 S125670          5/14/1992         5/21/2008          16.01916496
Burgener, Michael Ray                S093551           1/3/1992         6/17/2009          17.45379877
Burney, Shaun Kareem                 S133439          9/16/1994       12/17/2009           15.25256674
Carasi, Paul Joe                     S129603          5/26/1998         7/13/2011          13.13073238
Carrington, Celeste Simone           S142464       11/23/1994           9/15/2010           15.8110883
Chatman, Erik Sanford                S114982           4/9/1993       12/10/2008           15.67145791
Clark, Royal                         S142741           2/3/1995         1/11/2012          16.93634497
Cole, Stephen                        S128874          7/16/1992         3/25/2009           16.6899384
Collins, Scott Forrest               S136461       12/19/1996           9/25/2013          16.76659822
Combs, Michael Stephen               S134705          6/21/1993         7/11/2012          19.05544148
Cook, Joseph Lloyd                   S160915          9/16/1994         9/12/2012          17.99041752
Cornwell, Glen                       S126032          4/21/1995         6/24/2009          14.17659138
Cruz, Tomas Verano                   S129510           9/9/1994         6/12/2013          18.75701574
Danks, Joseph Martin                 S121004           4/2/1993         9/15/2010          17.45379877
Davis, Richard Allen                 S157917          9/26/1996         1/23/2013          16.32580424
Demetrulias, Gregory Spiros          S136487          5/19/1995         9/17/2008          13.33333333
DePriest, Timothy Lee                S136672          5/27/1994          5/1/2013          18.92950034
Doolin, Keith Zon                    S137884          6/18/1996         6/24/2009          13.01574264
Dunkle, Jon Scott                    S119946           2/7/1990         12/2/2009            19.816564




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                                                                                    Time between death
                                 State habeas   Date of death     Date of CSC         judgment and
                 Name
                                 case number     judgment          disposition        decision for 1st
                                                                                          petition
Dykes, Ernest Edward                 S126085       12/22/1995           8/31/2011          15.69062286
Fuiava, Freddie                      S161608          8/19/1996         4/30/2014          17.69472964
Geier, Christopher Adam              S147393          7/21/1995          6/9/2010          14.88569473
Halvorsen, Arthur Hans               S130342       11/18/1988           2/20/2013          24.25735797
Harris, Maurice Lydell               S139789       12/20/1996           5/15/2013          16.39972621
Harrison, Cedric Seth                S130762          8/30/1993         6/10/2009          15.77823409
Hinton, Eric Lamont                  S125276       12/10/1993            9/1/2010          16.72553046
Horning, Danny Ray                   S137676          1/26/1995         5/12/2010          15.29089665
Houston, Eric Christopher            S190730          9/20/1993       11/26/2013             20.183436
Howard, Alphonso                     S144008       10/20/1992           7/18/2012          19.74264203
Hoyos, Jaime Armando                 S146472          7/11/1994         2/18/2009           14.6091718
Huggins, Michael James               S127630       12/17/1993           1/30/2008          14.11909651
Jones, Ernest Dewayne                S110791           4/7/1995         3/11/2009          13.92744695
Jurado, Robert J.                    S136327          10/7/1994         7/23/2008          13.79329227
Kennedy, Jerry Noble                 S138625       12/20/1993           9/18/2013          19.74537988
Lawley, Dennis Harold                S089463          2/26/1990         6/11/2008          18.28884326
Lewis, Albert                        S120420          5/21/1993         8/18/2010          17.24298426
Lewis, John Irvin                    S139017           3/3/1993         1/19/2011          17.88090349
Marlow, James Gregory                S101172          8/31/1989       10/22/2008            19.1430527
Marlow, James Gregory                S101171           5/8/1992       10/22/2008           16.45722108
Maury, Robert Edward                 S122460          11/3/1989       11/16/2011           22.03422313
Monterroso, Christian Antonio        S120980          8/12/1993         6/20/2012          18.85557837
Moon, Richard Russell                S126781           5/9/1991       12/10/2008           17.59069131
Navarette, Martin Anthony            S122097          8/14/1991         8/17/2011          20.00821355
Oliver, Anthony Cedric               S122545          5/21/1993         8/18/2010          17.24298426
Perry, Clifton                       S138225          7/24/1996         7/27/2011          15.00616016
Ramos, William James                 S175417           1/8/1993         8/22/2012          19.61943874
Roldan, Ricardo                      S115143       12/29/1992           8/12/2009          16.61875428




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                                                                                        Time between death
                                   State habeas   Date of death     Date of CSC           judgment and
               Name
                                   case number     judgment          disposition          decision for 1st
                                                                                              petition
Roybal, Rudolph Jose                    S156846       10/20/1992            1/3/2013           20.20533881
Rundle, David Allen                     S130722        9/21/1989           6/25/2008           18.75975359
Salcido, Ramon Bojorquez                S091159       12/17/1990           5/20/2009           18.42299795
Samuels, Mary Ellen                     S124998        9/16/1994           3/10/2010           15.47980835
Sapp, John                              S130314       10/16/1991           12/2/2009           18.13004791
Schmeck, Mark Lindsey                   S131578         4/5/1990          11/13/2013           23.60848734
Smith, Robert Lee                       S144019        9/30/1993           6/15/2011           17.70568104
Smithey, George Hatton                  S070780        7/18/1989           9/10/2008           19.14852841
Stanley, Darren Cornelius               S106165        7/29/1991            7/8/2009           17.94387406
Stevens, Charles                        S119354        7/30/1993           8/26/2009           16.07392197
Turner, Richard Dean                    S124851       10/19/1988           9/17/2009           20.91170431
Valdez, Alfredo Reyes                   S107508        5/22/1992            7/8/2010           18.12731006
Vieira, Richard John                    S147688        3/30/1992           6/24/2009            17.2347707
Williams, Bob Russell, Jr.              S137389        9/20/1996           6/10/2009           12.72005476
Williams, Dexter Winfred                S128008        2/28/1996            8/8/2012           16.44353183
Wilson, Lester Harland                  S152074        6/29/2000           6/30/2010           10.00136893
Zambrano, Enrique                       S116021         9/8/1993           8/12/2009           15.92607803
Average time between death judgment and decision for 1st petition dispositions 2008-
2014, including OSCs, excluding dismissals                                                            17.2
Source: Habeas Corpus Resource Center




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            Name                                State habeas case numbers
Adcox, Keith Edward          S017293, S026779, S074000, S180912
Alcala, Rodney James         CR21908, CR23258
Alcala, Rodney James         S009129, S047409
Alfaro, Maria del Rosio      S099569, S170966
Allen, Clarence Ray          S003571, S031165, S139857
Allison, Watson              S016415, S042478
Alvarez, Manuel Machado      S073670, S146501
Anderson, James Phillip      S066574, S134525
Andrews, Jesse James         S017657, S039576, S120348
Arias, Pedro                 S050843, S114347
Avena, Carlos Jaime          S046608, S076118
Avila, Johnny, Jr.           S116554, S203288
Ayala, Hector Juan           S081267, S114371, S133446, S159584
Ayala, Ronaldo Medrano       S072059, S110094
Babbitt, Manuel Pina         S004455 ; CR24440, S009386, S029756, S078539
Bacigalupo, Miguel Angel     S032738, S079656
Barnett, Lee Max             S059885, S096831, S120570, S212998
Beames, John Michael         S153603, S195127
Beardslee, Donald Jay        S004622, S052116
Beeler, Rodney Gene          S033869, S065016, S127525
Bell, Ronald Lee             S015786, S044466, S105569
Benson, Richard Allen        S030686, S063126, S094994, S116971
Berryman, Rodney, Sr.        S034862, S068933, S077805
Bittaker, Lawrence Sigmond   S010483, S052371
Blair, James Nelson          S144759, S190217
Bloom, Robert Maurice        CR25325, S022735, S035229
Bloyd, Dale Michael          Unknown, S000029/CR25554
Bolden, Clifford Stanley     S099231, S216632
Bonin, William George        S016301, S051633
Bonin, William George        S010087, S011262, S016344, S051634
Box, Christopher Clark       S087643, S153345
Boyde, Richard               S017352, S039855
Boyer, Richard Delmer        S101970, S181948
Bradford, Bill               S056604, S100542
Bradford, Mark Alan          S084903, S119155
Breaux, David Anthony        S021609, S045944
Brown, Andrew Lamont         S125670, S136785
Brown, John George           S009797, S037992
Brown, John George           S120253, S179645
Burney, Shaun Kareem         S133439, S190968
Burton, Andre                S002936, S034725, S162260
Cain, Tracy Dearl            S032447, S067172, S116805, S152288
Caro, Fernando Eros          S005083, S027045


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             Name                                State habeas case numbers
Carpenter, David Joseph       S058191, S083035
Carpenter, David Joseph       S083246, S110890
Carrera, Constantino          S003674, S049666, S062394, S141324
Carter, Dean Phillip          S090230, S153790
Carter, Dean Phillip          S096874, S153780, S180336
Catlin, Steven David          S090636, S173793
Chatman, Erik Sanford         S114982, S217244
Clair, Kenneth                S024707, S045241, S052733, S169188
Clark, Douglas Daniel         S115061, S120556
Clark, Richard Dean           S031246, S060797, S116968
Clark, Royal                  S142741, S214078
Clark, William John           S020060, S022475
Cleveland, Dellano Leroy      S123149, S143814
Coddington, Herbert James     S085976, S107502
Cole, Stephen                 S128874, S142889
Coleman, Calvin, Jr.          S023949, S117990, S133438
Coleman, Russell              S013726, S025597, S041610
Cook, Joseph Lloyd            S160915, S217150
Cooper, Kevin                 S052741, S064320, S075527, S077408, S116984, S122389, S122507
Cornwell, Glen                S126032, S152880
Cox, Michael Anthony          S004507, S033824, S038251, S135128
Cox, Tiequon Aundray          S044014, S082898
Crew, Mark Christopher        S084495, S107856
Crittenden, Steven Edward     S034783, S060706
Cudjo, Armenia Levi, Jr.      S029707, S090162, S128474, S134653
Cummings, Raynard Paul        S044871, S071267
Danks, Joseph Martin          S121004, S196398
Davenport, John Galen         S049760, S089502, S155689
Davis, Larry David            S045183, S062517
Davis, Stanley Bernard        S116750, S130190
Deere, Ronald Lee             S019008, S036482
Demetrulias, Gregory Spiros   S136487, S160990
Dennis, William Michael       S055380, S099587, S201330
DePriest, Timothy Lee         S136672, S171297
DeSantis, Stephen             S020486, S051609
Diaz, Robert Rubane           S016304, S033433
Dickey, Colin Raker           S115079, S165302
Doolin, Keith Zon             S137884, S197391
Duncan, Henry Earl            S016908, S047651
Dyer, Alfred R.               S008594, S022577, S023364, S032198
Easley, Elbert Lee            S004094, S032556
Edwards, Thomas Francis       S030742, S092074
Espinoza, Antonio             S023462, S062244, S116824
Farnam, Jack Gus              S081408, S122414, S162381
Fauber, Curtis Lynn           S030753, S065139, S134365


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             Name                                State habeas case numbers
Fields, Stevie Lamar          S009491, S037370
Fierro, David Rey             S022650, S031671, S057031, S116793
Frank, Theodore Francis       S013949, S042395
Freeman, Fred Harlan          S041560, S065191, S122590, S142041, S156163
Frierson, Lavell              S018357, S044946, S050413, S051642
Frye, Jerry Grant             S062455, S087755
Gates, Oscar                  S020740, S060778
Gay, Kenneth Earl             S130263, S130598
Geier, Christopher Adam       S147393, S193602, S198025
Ghent, David Luther           S005511, S031473
Gonzalez, Jesse Edward        CR24021, S066882, S116359, S175344, S208922
Gonzalez, Martin G.           S004572, S013761
Grant, Richard Edward         CR22742/CR25209, S009417, S038643
Gray, Mario Lewis             S113159, S167924
Green, Charles Alan           CR21068, Unknown
Gutierrez, Isaac, Jr.         S106745, S136926
Hamilton, Billy Ray           S010053, S066192
Hamilton, Michael Allen       S009360, S040799
Hardy, James Edward           S022153, S093694
Harris, Robert Alton          CR22380, CR22612, S013598, S026177, S026235
Hart, Joseph William          S074569, S134962, S152912
Hawkins, Jeffrey Jay          S039950, S065450
Hawthorne, Anderson, Jr.      S023285, S065934, S097160, S116670, S166498, S201319, S213911
Hayes, Blufford, Jr.          CR25356, S039415
Hayes, Royal Kenneth          S073125, S117158
Heishman, Harvey Lee, III     S008829, S022614, S031517, S033487
Hernandez, Francis Gerard     S013027, S029520, S153853
Hernandez, Jesus Cianez       S107230, S117549, S141716
Hillhouse, Dannie Ray         S102296, S126771, S201327
Hines, Gary Dale              S044529, S077380
Hinton, Eric Lamont           S125276, S195922
Hitchings, Keith Sanford      CR24213, S015706, S004189
Holloway, Duane               S117268, S147749
Holt, John Lee                S057078, S116794
Horning, Danny Ray            S137676, S194705, S206764
Horton, James Frank, II       S012531, S045771
Hovey, Richard Adams          CR23534, S008414, S013041, S144514
Howard, Albert Cecil          S016172, S060822
Howard, Gary Lee, Sr.         S013984, S042592, S046724
Hoyos, Jaime Armando          S146472, S190357
Huggins, Michael James        S127630, S213717
Hughes, Kristin William       S089357, S126775
Jablonski, Phillip Carl       S136861, S215450
Jackson, Earl Lloyd           CR21285/CR22165, S009490, S055993
Jackson, Noel                 S053136, S070227, S129989, S201322


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            Name                                State habeas case numbers
Jenkins, Daniel Steven       S068655, S123618, S138757, S176494
Johnson, Laverne             S032285, S060758, S077521
Johnson, Willie Darnell      S027758, S090040
Jones, Earl Preston          S027729, S073227
Jones, Ernest Dewayne        S110791, S159235
Jones, Jeffrey Gerard        S050483, S093647
Jones, Michael Lamont        S094239, S132646
Jones, Ronald Anthony        S065479, S092494
Jones, Troy Lee              S016628, S035140
Jurado, Robert J.            S136327, S181061
Karis, James Leslie          CR25929, S022170, S023360
Keenan, Maurice J.           S016227, S053046
Kelly, Horace Edwards        S017561, S026194, S115483, S143981
Kelly, Horace Edwards        S069124, S115428, S143981
Kimble, Eric B.              S008706, S025105
Kipp, Martin James           S057756, S087490
Kipp, Martin James           S093369, S129115
Kirkpatrick, William, Jr.    S005410, S075679
Koontz, Herbert Harris       S104295, S128031
Kraft, Randy Steven          S094682, S172964
Lang, Kenneth Burton, Jr.    S001273, S011853, S036108
Lawley, Dennis Harold        S089463, S163136, S177188
Lenart, Thomas Howard        S126851, S167453, S205999
Lewis, Albert                S120420, S207075
Lewis, Milton Otis           S074511, S114868
Lewis, Raymond Anthony       S083842, S131322, S154015
Lindberg, Gunner Jay         S173896, S204545
Lucky, Darnell               S002037, S011990, S080669
Majors, James David          S062533, S101360, S117112
Malone, Kelvin Shelby        S010528, S024710, S073429
Marks, Delaney Geral         S110988, S145853
Marlow, James Gregory        S101172, S108267, S135024, S178102
Marlow, James Gregory        S101171, S178166
Marshall, Ryan Michael       S009001, S023919, S062341, S117002
Martinez, Omar Fuentes       S112103, S141480, S198765
Mason, David Edwin           S012541, S026182, S034527
Massie, Robert Lee           S055662, S060456
Mattson, Michael Dee         S021175, S023201, S043900, S084320, S116812
Mayfield, Demetrie Ladon     CR25916, S050116
Mayfield, Dennis             S039866, S081000
McDermott, Maureen           S092813, S130708, S155331
McDowell, Charles Edward     S011634, S024033
McLain, Robert Cruz          S020204, S030456, S035594
Medina, Teofilo, Jr.         S017627, S030938, S058051, S116476
Medina, Teofilo, Jr.         S056590, S116444


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            Name                                  State habeas case numbers
Michaels, Kurt                 S071265, S147647
Mickey, Douglas Scott          S054715, S058855
Mickle, Denny                  S017086, S025619, S066487
Miller, Donald                 S057885, S115824
Millwee, Donald Ray            S072082, S120084
Mincey, Bryan Joseph           S025754, S056504, S132358
Miranda, Adam                  CR25350, S007965, S028518, S058528, S060781, S151264
Mitcham, Stephan Louis         S024600, S029219, S067887
Moon, Richard Russell          S126781, S178977, S189159
Morales, Michael Angelo        S030276, S032386, S141074, S141245, S158610
Morris, Bruce Wayne            S017372, S050354
Murtishaw, David Leslie        S017727, S026455
Musselwhite, Joseph Timothy    S063433, S109288
Navarette, Martin Anthony      S122097, S204865
Neely, Charles Frederick       S015623, S078822
Nicolaus, Robert Henry         S018483, S060675
Noguera, William Adolf         S029779, S068360, S116529, S136826
Ochoa, Lester Robert           S064794, S109935
Ochoa, Sergio                  S095304, S121184
Odle, James Richard            S010456, S022451, S026511
Padilla, Alfredo Alvarado      S043733, S110741, S119666, S136121, S151385, S154838
Panah, Hooman Ashkan           S123962, S155942
Payton, William Charles        CR25552, S056446, S209849
Pensinger, Brett Patrick       S009489, S047895, S087958, S089959
Perry, Clifton                 S138225, S214222
Pinholster, Scott Lynn         S034501, S063973, S113357, S193875
Pollock, Milton Ray            S117032, S214789
Price, Curtis Floyd            S018328, S023791, S069685, S139574
Prieto, Alfredo R.             S114708, S156659
Proctor, William Arnold        S043451, S063535, S201346
Raley, David Allen             S025138, S053603, S185736
Ramirez, Richard Munoz         S125755, S171312
Ramos, Marcelino               S034915, S109983
Ray, Clarence, Jr.             S057313, S110219, S150974
Reilly, Mark Anthony           S031234, S058819, S107844

Reno (aka Memro, Harold Ray)
                               S044437, S124660
Rich, Darrell Keith            S027342, S054989
Riel, Charles Dell             S084324, S105455
Robbins, Malcolm Joseph        S011321, S048929
Rodriguez, Jose Arnaldo        S043207, S068488, S113554
Roldan, Ricardo                S115143, S185447
Ross, Craig Anthony            S043446, S025938, S076654
Rowland, Guy Kevin             S038400, S061918
Salcido, Ramon Bojorquez       S091159, S214863


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             Name                                State habeas case numbers
Samayoa, Richard Gonzales     S058851, S120249
Samuels, Mary Ellen           S124998, S193440
San Nicolas, Rodney Jesse     S101300, S160027
Sanders, Ronald Lee           S043131, S082022, S094849
Sandoval, Alfred Arthur       S026386, S057548
Sapp, John                    S130314, S218046
Scott, James Robert           S059739, S111112, S122167, S180692
Sheldon, Jeffrey Theodore     S052024, S066498
Silva, Benjamin Wai           S001959, S009772, S033635
Sims, Mitchell Carlton        S031117, S064968
Siripongs, Jaturun            S009164, S018140, S076216
Slaughter, Michael Corey      S113371, S167303, S183839
Smith, Gregory Calvin         S115818, S186093
Smith, Robert Lee             S144019, S218736
Stankewitz, Douglas Ray       S014015, S047659
Stanley, Gerald Frank         CR25155, S081120
Stansbury, Robert Edward      S016348, S066681
Staten, Deondre Arthur        S107302, S121789, S141678
Steele, Raymond Edward        S114551, S147651
Taylor, Freddie Lee           S011031, S062432, S137164
Taylor, Robert Clarence       S102652, S166952
Thomas, Ralph International   S013722, S063274
Thompson, Thomas Martin       S008382, S018049, S029941, S062592
Tuilaepa, Paul Palalaua       S027547, S065022
Turner, Melvin                S037486, S069718, S114479, S120388, S146120, S210095
Turner, Richard Dean          S124851, S196910
Turner, Thaddaeus Louis       S034988, S116211
Valdez, Alfredo Reyes         S107508, S213143
Visciotti, John Louis         S031247, S074291
Wade, Melvin Meffery          S001539, S009464, S015158
Waidla, Tauno                 S076438, S102401
Walker, Marvin Pete, Jr.      S017679, S070934
Weaver, Ward Francis, Jr.     S073709, S115638
Webb, Dennis Duane            S031942, S054055, S080638, S190098
Webster, Larry Junior         S007757, S053140
Welch, David Esco             S107782, S149222
Whitt, Charles Edward         S023494, S051684
Williams, Barry Glenn         S050166, S100932
Williams, Bob Russell, Jr.    S137389, S183405
Williams, Dexter Winfred      S128008, S163977, S219327
Williams, Keith Daniel        CR23904, S008968, S053130
Williams, Kenneth Derrell     CR24736, S006589, S006916
Williams, Michael Allen       S012400, S024005

Williams, Stanley
                              CR23806, S008526, S011868, S039285, S139526


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Wilson, Robert Paul            S121061, S161435
Wright, Bronte Lamont          S002964, S047131

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filed exhaustion petitions 1978-
2014 (includes inmates who
have both open and closed
cases; no inmates or cases are
excluded)                                                                              268
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                                                                                              cases


Alcala, Rodney James                             S047409        7/3/1995       3/20/1996    0.714579055
Alfaro, Maria del Rosio                          S170966        3/2/2009       6/12/2013     4.27926078
Allen, Clarence Ray                              S031165       2/10/1993        6/2/1993
Allen, Clarence Ray                              S139857     12/23/2005        1/10/2006    0.355920602
Allison, Watson                                  S042478       9/30/1994       4/16/1997    2.543463381
Alvarez, Manuel Machado                          S146501       9/11/2006       7/13/2011     4.83504449
Anderson, James Phillip                          S134525        6/3/2005       5/15/2013    7.947980835
Andrews, Jesse James                             S039576        5/2/1994        7/9/1997
Andrews, Jesse James                             S120348       11/7/2003      10/26/2005    5.155373032
Arias, Pedro                                     S114347       3/17/2003       9/17/2008    5.505817933
Avena, Carlos Jaime                              S076118       1/22/1999       1/12/2005    5.973990418
Ayala, Hector Juan                               S114371       3/17/2003        9/1/2004
Ayala, Hector Juan                               S133446       4/27/2005      11/30/2005
Ayala, Hector Juan                               S159584     12/28/2007         9/9/2009     3.75633128
Ayala, Ronaldo Medrano                           S110094       9/23/2002       9/10/2003    0.963723477
Babbitt, Manuel Pina                             S009386       3/15/1989        6/1/1989
Babbitt, Manuel Pina                             S029756       11/9/1992       4/12/1995
Babbitt, Manuel Pina                             S078539       4/30/1999        5/3/1999     2.64202601
Bacigalupo, Miguel Angel                         S079656       6/11/1999       9/11/2013     14.2532512
Beardslee, Donald Jay                            S052116        3/4/1996       7/31/1996    0.407939767
Beeler, Rodney Gene                              S065016     10/10/1997       11/10/2004
Beeler, Rodney Gene                              S127525       12/8/2003      11/10/2004    8.010951403
Bell, Ronald Lee                                 S044466       1/20/1995       6/21/1995
Bell, Ronald Lee                                 S105569        4/2/2002        1/3/2008    6.171115674
Benson, Richard Allen                            S063126       7/28/1997       8/20/1997
Benson, Richard Allen                            S094994        2/5/2001       2/28/2001
Benson, Richard Allen                            S116971       6/24/2003       5/17/2006    3.022587269
Berryman, Rodney, Sr.                            S068933       3/20/1998       4/29/1998
Berryman, Rodney, Sr.                            S077805        4/2/1999       4/21/1999    0.161533196
Bittaker, Lawrence Sigmond                       S052371       3/15/1996      11/29/2000    4.709103354
Bloom, Robert Maurice                            S022735        9/3/1991       2/19/1992
Bloom, Robert Maurice                            S035229       9/28/1993      10/20/1993      0.5229295
Bloyd, Dale Michael                  S000029 and CR25554        7/7/1986        1/2/1987    0.490075291
Bonin, William George                            S051633        2/6/1996       2/15/1996    0.024640657
Bonin, William George                            S011262       7/24/1989       11/1/1989
Bonin, William George                            S016344        7/2/1990        7/5/1990
Bonin, William George                            S051634        2/6/1996       2/15/1996    0.306639288
Boyde, Richard                                   S039855       5/13/1994       4/24/1996     1.94934976


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                                                                                            Time per
                                      State habeas case    Date petition   Date of CSC     inmate for
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                                           number              filed       disposition     exhaustion
                                                                                              cases


Boyer, Richard Delmer                            S181948       4/19/2010       6/20/2012    2.171115674
Bradford, Bill                                   S100542       9/12/2001      10/12/2005    4.082135524
Bradford, Mark Alan                              S119155       9/19/2003        8/8/2007    3.885010267
Breaux, David Anthony                            S045944       4/11/1995       9/24/1997    2.455852156
Brown, Andrew Lamont                             S136785       8/26/2005       5/21/2008    2.735112936
Brown, John George                               S037992       2/15/1994        4/2/1998    4.125941136
Cain, Tracy Dearl                                S067172       1/12/1998       6/28/2000
Cain, Tracy Dearl                                S116805       6/18/2003       9/21/2005
Cain, Tracy Dearl                                S152288       4/30/2007       4/22/2009    6.699520876
Caro, Fernando Eros                              S027045        6/8/1992       9/15/1993    1.270362765
Carpenter, David Joseph                          S083035     10/22/1999        12/1/1999    0.109514031
Carpenter, David Joseph                          S110890     10/24/2002       12/18/2002    0.150581793
Carrera, Constantino                             S049666     10/27/1995        8/13/1998
Carrera, Constantino                             S062394       6/26/1997       8/13/1998
Carrera, Constantino                             S141324       2/23/2006       1/13/2010    7.813826146
Carter, Dean Phillip                             S153790       6/22/2007       6/17/2010    2.986995209
Carter, Dean Phillip                             S153780       6/22/2007       6/17/2010
Carter, Dean Phillip                             S180336       2/16/2010       6/17/2010    3.318275154
Catlin, Steven David                             S173793       6/15/2009       3/27/2013    3.780971937
Clair, Kenneth                                   S045241        3/6/1995       7/12/1995
Clair, Kenneth                                   S052733        4/3/1996       4/17/1996
Clair, Kenneth                                   S169188     12/19/2008        8/24/2011    3.066392882
Clark, Douglas Daniel                            S120556     11/19/2003       11/25/2003    0.016427105
Clark, Richard Dean                              S060797       4/23/1997       8/13/1998
Clark, Richard Dean                              S116968       6/24/2003       6/24/2003    1.305954825
Clark, William John                              S022475       8/16/1991       7/29/1993    1.952087611
Cleveland, Dellano Leroy                         S143814       5/31/2006       6/21/2006    0.057494867
Coddington, Herbert James                        S107502       6/11/2002       5/20/2010    7.939767283
Cole, Stephen                                    S142889       4/21/2006       3/25/2009    2.926762491
Coleman, Russell                                 S025597       3/12/1992       4/15/1992
Coleman, Russell                                 S041610       8/16/1994      12/21/1994    0.440793977
Cooper, Kevin                                    S064320       9/12/1997      10/15/1997
Cooper, Kevin                                    S075527     12/23/1998        4/14/1999
Cooper, Kevin                                    S077408       3/26/1999       4/14/1999
Cooper, Kevin                                    S116984       6/25/2003      10/22/2003
Cooper, Kevin                                    S122389        2/2/2004        2/5/2004
Cooper, Kevin                                    S122507        2/6/2004        2/9/2004    0.791238877
Cornwell, Glen                                   S152880        5/7/2007       2/10/2010    2.765229295


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                                      State habeas case    Date petition   Date of CSC     inmate for
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                                                                                              cases


Cox, Michael Anthony                             S033824        7/8/1993       8/11/1993
Cox, Michael Anthony                             S038251       2/25/1994       8/20/1997
Cox, Michael Anthony                             S135128       6/30/2005        6/9/2010    8.517453799
Cox, Tiequon Aundray                             S082898     10/15/1999        2/13/2002    2.332648871
Crew, Mark Christopher                           S107856       6/26/2002        8/8/2012    10.11909651
Crittenden, Steven Edward                        S060706       4/21/1997       8/18/1999    2.324435318
Cudjo, Armenia Levi, Jr.                         S090162       7/25/2000      11/25/2003
Cudjo, Armenia Levi, Jr.                         S128474     10/13/2004        5/17/2006
Cudjo, Armenia Levi, Jr.                         S134653       6/10/2005       3/14/2007    6.683093771
Cummings, Raynard Paul                           S071267       6/22/1998       7/29/1998    0.101300479
Davis, Larry David                               S062517        7/1/1997       1/14/1998    0.539356605
Davis, Stanley Bernard                           S130190     10/21/2004        9/10/2008    3.887748118
Deere, Ronald Lee                                S036482       12/2/1993       5/25/1994    0.476386037
Demetrulias, Gregory Spiros                      S160990       2/19/2008       6/17/2010    2.324435318
Dennis, William Michael                          S099587        8/2/2001      11/26/2002
Dennis, William Michael                          S201330        4/3/2012       2/26/2014    3.216974675
DePriest, Timothy Lee                            S171297       3/16/2009        5/1/2013    4.125941136
DeSantis, Stephen                                S051609        2/5/1996       4/17/1996    0.197125257
Diaz, Robert Rubane                              S033433       6/18/1993       8/11/1993    0.147843943
Dickey, Colin Raker                              S165302       7/18/2008       5/23/2012    3.846680356
Duncan, Henry Earl                               S047651       7/13/1995       8/14/1996    1.089664613
Dyer, Alfred R.                                  S022577       8/23/1991      10/16/1991
Dyer, Alfred R.                                  S023364       9/17/1991      10/31/1991
Dyer, Alfred R.                                  S032198       4/12/1993       4/28/1993     0.31211499
Easley, Elbert Lee                               S032556       4/29/1993       5/12/1994    1.034907598
Edwards, Thomas Francis                          S092074       10/5/2000      11/15/2000    0.112251882
Espinoza, Antonio                                S062244       6/20/1997       2/17/1999
Espinoza, Antonio                                S116824       6/19/2003       6/29/2005    3.690622861
Fauber, Curtis Lynn                              S065139     10/17/1997        3/14/2001
Fauber, Curtis Lynn                              S134365        6/1/2005       7/25/2012    10.55441478
Fields, Stevie Lamar                             S037370       1/14/1994      10/14/1994    0.747433265
Frank, Theodore Francis                          S042395       9/27/1994       6/21/1995     0.73100616
Frierson, Lavell                                 S044946       2/17/1995      10/25/1995
Frierson, Lavell                                 S050413       12/1/1995      12/20/1995
Frierson, Lavell                                 S051642        2/6/1996       2/21/1996    0.777549624
Frye, Jerry Grant                                S087755       4/20/2000       1/24/2001     0.76386037
Gates, Oscar                                     S060778       4/23/1997      10/25/2000    3.507186858
Gay, Kenneth Earl                                S130598       1/11/2005       5/11/2011    6.327173169


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                                                                                               cases


Ghent, David Luther                              S031473         3/3/1993       2/23/1994    0.977412731
Grant, Richard Edward                            S009417        3/20/1989       7/13/1989
Grant, Richard Edward                            S038643        3/11/1994      12/15/1994     1.07871321
Hamilton, Billy Ray                              S066192        12/1/1997       1/28/1998    0.158795346
Hamilton, Michael Allen                          S040799         7/5/1994        5/6/1999     4.83504449
Hardy, James Edward                              S093694      12/13/2000        7/26/2007    6.614647502
Hart, Joseph William                             S134962        6/22/2005       3/28/2007
Hart, Joseph William                             S152912        5/22/2007       9/28/2011    6.116358658
Hawkins, Jeffrey Jay                             S065450      10/28/1997         3/9/1999    1.360711841
Hayes, Blufford, Jr.                             S039415        4/22/1994       6/21/1995    1.163586585
Hayes, Royal Kenneth                             S117158         7/1/2003       7/16/2003    0.041067762
Heishman, Harvey Lee, III                        S022614        8/26/1991       4/29/1992
Heishman, Harvey Lee, III                        S031517         3/5/1993       8/11/1993
Heishman, Harvey Lee, III                        S033487        6/22/1993       8/11/1993    1.248459959
Hernandez, Francis Gerard                        S029520      10/30/1992        1/27/1993
Hernandez, Francis Gerard                        S153853        6/26/2007       6/11/2008    1.204654346
Hillhouse, Dannie Ray                            S126771         8/2/2004      11/10/2004
Hillhouse, Dannie Ray                            S201327         4/3/2012       2/26/2014    2.173853525
Hines, Gary Dale                                 S077380        3/17/1999       6/28/2000    1.284052019
Holloway, Duane                                  S147749      10/30/2006        8/19/2009    2.803559206
Horton, James Frank, II                          S045771         4/3/1995       7/18/1996    1.292265572
Howard, Gary Lee, Sr.                            S042592        10/7/1994       3/29/1995
Howard, Gary Lee, Sr.                            S046724        5/23/1995      11/13/1996    1.952087611
Hoyos, Jaime Armando                             S190357         2/3/2011      10/30/2013    2.737850787
Hughes, Kristin William                          S126775         8/2/2004       6/21/2006    1.883641342
Jackson, Earl Lloyd                              S009490        8/19/1981       8/31/1992
Jackson, Earl Lloyd                              S055993         9/9/1996       2/23/2000    14.48870637
Johnson, Laverne                                 S060758        4/22/1997      11/25/1997
Johnson, Laverne                                 S077521        3/23/1999       4/14/1999    0.654346338
Johnson, Willie Darnell                          S090040        7/20/2000       6/13/2001    0.898015058
Jones, Earl Preston                              S073227         9/9/1998       2/23/2000    1.456536619
Jones, Ernest Dewayne                            S159235      10/16/2007        3/11/2009    1.401779603
Jones, Jeffrey Gerard                             S093647       12/5/2000       9/24/2003    2.800821355
Jones, Michael Lamont                            S132646        3/30/2005      11/30/2011    6.669404517
Jones, Ronald Anthony                            S092494      10/26/2000        3/28/2001     0.41889117
Jurado, Robert J.                                S181061        3/18/2010       1/16/2013    2.833675565
Karis, James Leslie                              S022170        7/29/1991      10/16/1991
Karis, James Leslie                              S023360        9/13/1991       2/19/1992    0.651608487


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                                                                                              cases


Keenan, Maurice J.                               S053046       4/12/1996       2/18/1998    1.853524983
Kimble, Eric B.                                  S025105       2/10/1992       5/26/1993    1.289527721
Kipp, Martin James                               S087490       4/12/2000       2/19/2003    2.855578371
Kipp, Martin James                               S129115       11/5/2004       6/28/2006    1.642710472
Kraft, Randy Steven                              S172964       5/14/2009       5/22/2013    4.021902806
Lang, Kenneth Burton, Jr.                        S011853        9/1/1989      10/12/1989
Lang, Kenneth Burton, Jr.                        S036108     11/15/1993        2/23/1994    0.386036961
Lewis, Milton Otis                               S114868        4/1/2003       12/1/2004     1.67008898
Lewis, Raymond Anthony                           S131322        2/4/2005       7/21/2010
Lewis, Raymond Anthony                           S154015       6/29/2007       7/21/2010    8.517453799
Lucky, Darnell                                   S011990       9/11/1989      10/12/1989
Lucky, Darnell                                   S080669       7/19/1999       6/27/2007    8.024640657
Majors, James David                              S101360     10/12/2001       10/31/2001
Majors, James David                              S117112       6/27/2003       4/28/2010     6.88843258
Marks, Delaney Geral                             S145853       8/14/2006      12/15/2010    4.336755647
Marlow, James Gregory                            S108267       7/12/2002      10/22/2008
Marlow, James Gregory                            S135024       6/27/2005      10/22/2008
Marlow, James Gregory                            S178102     11/16/2009        5/22/2013    13.11430527
Marlow, James Gregory                            S178166     11/16/2009        5/22/2013     3.51266256
Marshall, Ryan Michael                           S023919     11/21/1991        2/13/1992
Marshall, Ryan Michael                           S062341       6/23/1997       7/16/1997
Marshall, Ryan Michael                           S117002       6/23/2003       9/22/2004    1.544147844
Martinez, Omar Fuentes                           S141480       2/24/2006       6/29/2009
Martinez, Omar Fuentes                           S198765     12/19/2011        2/15/2012    3.501711157
Mason, David Edwin                               S026182       4/17/1992       4/23/1992
Mason, David Edwin                               S034527       8/19/1993       8/20/1993    0.019164956
Massie, Robert Lee                               S060456       4/11/1997       1/13/1999    1.757700205
Mattson, Michael Dee                             S023201       10/3/1991      10/23/1991
Mattson, Michael Dee                             S043900     12/16/1994        2/14/1996
Mattson, Michael Dee                             S084320     12/14/1999        1/19/2000
Mattson, Michael Dee                             S116812       6/19/2003      10/16/2008     6.64476386
Mayfield, Demetrie Ladon                         S050116     11/20/1995        2/21/1996    0.254620123
Mayfield, Dennis                                 S081000       7/30/1999        3/5/2003    3.597535934
McDermott, Maureen                               S130708       1/14/2005        1/3/2007
McDermott, Maureen                               S155331       8/10/2007       5/21/2008     2.74880219
McDowell, Charles Edward                         S024033       12/2/1991        7/9/1992    0.602327173
McLain, Robert Cruz                              S030456     12/29/1992        1/13/1993
McLain, Robert Cruz                              S035594     10/20/1993       10/27/1993    0.060232717


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                                                                                              cases


Medina, Teofilo, Jr.                             S030938       1/27/1993       4/28/1993
Medina, Teofilo, Jr.                             S058051     12/24/1996         9/3/1997
Medina, Teofilo, Jr.                             S116476        6/5/2003      11/19/2003    1.399041752
Medina, Teofilo, Jr.                             S116444        6/4/2003      11/19/2003    0.459958932
Michaels, Kurt                                   S147647     10/27/2006        8/19/2009    2.811772758
Mickey, Douglas Scott                            S058855       1/31/1997       2/19/1997    0.052019165
Mickle, Denny                                    S025619       3/11/1992       7/15/1992
Mickle, Denny                                    S066487     12/12/1997        2/25/2003    5.549623546
Millwee, Donald Ray                              S120084     11/22/2000        11/1/2006    5.941136208
Mitcham, Stephan Louis                           S029219     10/14/1992        9/30/1993    0.960985626
Mitcham, Stephan Louis                           S067887        2/9/1998      12/21/1999    1.861738535
Morales, Michael Angelo                          S032386       4/21/1993       7/28/1993
Morales, Michael Angelo                          S141074       2/10/2006       2/15/2006
Morales, Michael Angelo                          S141245       2/21/2006        3/1/2006
Morales, Michael Angelo                          S158610     11/30/2007        2/13/2008    0.509240246
Morris, Bruce Wayne                              S050354       12/1/1995       12/6/1995    0.013689254
Murtishaw, David Leslie                          S026455        5/5/1992        9/2/1992    0.328542094
Musselwhite, Joseph Timothy                      S109288       8/19/2002      11/16/2005    3.244353183
Neely, Charles Frederick                         S078822       5/10/1999       9/29/1999    0.388774812
Nicolaus, Robert Henry                           S060675       4/18/1997       1/17/2001    3.750855578
Noguera, William Adolf                           S068360        3/3/1998      10/17/2001
Noguera, William Adolf                           S116529        6/9/2003      10/10/2007
Noguera, William Adolf                           S136826       8/29/2005      10/10/2007     10.0752909
Ochoa, Lester Robert                             S109935       9/17/2002       3/26/2003     0.52019165
Ochoa, Sergio                                    S121184     12/15/2003       12/21/2010    7.017111567
Odle, James Richard                              S022451       8/14/1991       9/16/1992
Odle, James Richard                              S026511        5/8/1992      10/28/1992     1.56605065
Panah, Hooman Ashkan                             S155942       8/30/2007       3/16/2011    3.542778919
Payton, William Charles                          S056446       10/1/1996      12/11/1997
Payton, William Charles                          S209849        4/9/2013        5/1/2013    1.253935661
Pensinger, Brett Patrick                         S047895       7/27/1995       7/26/2000
Pensinger, Brett Patrick                         S087958       1/24/2000       7/26/2000
Pensinger, Brett Patrick                         S089959       2/13/1998       7/26/2000    7.950718686
Pinholster, Scott Lynn                           S063973       8/29/1997       10/1/1997
Pinholster, Scott Lynn                           S113357        2/4/2003       4/20/2011
Pinholster, Scott Lynn                           S193875        6/9/2011      10/31/2012    9.691991786
Price, Curtis Floyd                              S023791     11/12/1991        2/19/1992
Price, Curtis Floyd                              S069685       4/21/1998       4/13/2011


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                      Name
                                           number              filed       disposition     exhaustion
                                                                                              cases


Price, Curtis Floyd                              S139574     12/13/2005        6/24/2009    16.77754962
Prieto, Alfredo R.                               S156659       9/21/2007       2/26/2014     6.43394935
Proctor, William Arnold                          S063535       8/12/1997       2/13/2002
Proctor, William Arnold                          S201346        4/3/2012       2/26/2014    6.406570842
Reilly, Mark Anthony                             S058819       1/31/1997       7/26/2000
Reilly, Mark Anthony                             S107844       6/26/2002        7/8/2009    10.51608487
Reno (aka Memro, Harold Ray)                     S124660       5/10/2004       8/30/2012    8.306639288
Rich, Darrell Keith                              S054989       7/19/1996       1/16/1997    0.495550992
Riel, Charles Dell                               S105455       3/22/2002       5/15/2002    0.147843943
Robbins, Malcolm Joseph                          S048929       9/18/1995        8/3/1998    2.874743326
Ross, Craig Anthony                              S025938        4/1/1992       5/31/1995
Ross, Craig Anthony                              S076654       2/19/1999      10/30/2002    6.855578371
Rowland, Guy Kevin                               S061918        6/5/1997        7/9/1997    0.093086927
Samayoa, Richard Gonzales                        S120249       11/4/2003       3/16/2005    1.363449692
San Nicolas, Rodney Jesse                        S160027       1/16/2008       2/11/2014    6.072553046
Sanders, Ronald Lee                              S082022       9/10/1999       9/22/1999
Sanders, Ronald Lee                              S094849       1/29/2001       6/13/2001    0.402464066
Sandoval, Alfred Arthur                          S057548     11/27/1996       10/21/1998    1.897330595
Scott, James Robert                              S111112       11/1/2002       1/27/2003
Scott, James Robert                              S122167       1/23/2004        6/9/2004
Scott, James Robert                              S180692        3/3/2010       8/11/2010    1.056810404
Sheldon, Jeffrey Theodore                        S066498     12/12/1997        6/11/1998    0.495550992
Silva, Benjamin Wai                              S009772       4/14/1989       7/26/1989
Silva, Benjamin Wai                              S033635        7/1/1993       7/28/1993    0.355920602
Sims, Mitchell Carlton                           S064968       10/9/1997       4/29/1998    0.553045859
Siripongs, Jaturun                               S018140     10/31/1990        1/17/1991
Siripongs, Jaturun                               S076216       1/27/1999        2/4/1999    0.235455168
Smith, Gregory Calvin                            S186093        9/7/2010       1/12/2011     0.34770705
Stankewitz, Douglas Ray                          S047659       7/14/1995       3/14/1996    0.668035592
Stanley, Gerald Frank                            S081120        8/2/1999       7/17/2002     2.95687885
Stansbury, Robert Edward                         S066681     12/22/1997        1/30/2001    3.107460643
Staten, Deondre Arthur                           S121789        1/8/2004       7/13/2005
Staten, Deondre Arthur                           S141678        3/8/2006      12/20/2006     2.29705681
Steele, Raymond Edward                           S147651     10/30/2006        1/24/2007    0.235455168
Taylor, Freddie Lee                              S062432       6/27/1997       7/16/2003
Taylor, Freddie Lee                              S137164       9/12/2005       9/11/2013    14.04791239
Taylor, Robert Clarence                          S166952       12/5/2008        9/1/2010     1.73853525
Thomas, Ralph International                      S063274        8/1/1997       4/12/2006      8.6954141


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                                                PARAGRAPH 16.2


                                                                                                      Time per
                                                State habeas case    Date petition   Date of CSC     inmate for
                    Name
                                                     number              filed       disposition     exhaustion
                                                                                                        cases


Thompson, Thomas Martin                                    S018049     10/25/1990        1/23/1991
Thompson, Thomas Martin                                    S029941     11/25/1992        2/10/1993
Thompson, Thomas Martin                                    S062592        7/3/1997       7/16/1997    0.492813142
Tuilaepa, Paul Palalaua                                    S065022     10/10/1997       11/29/2006    9.136208077
Turner, Thaddaeus Louis                                    S116211       5/22/2003      10/22/2008    5.420944559
Visciotti, John Louis                                      S074291     10/26/1998        2/24/1999    0.331279945
Wade, Melvin Meffery                                       S009464       3/22/1989       6/21/1989
Wade, Melvin Meffery                                       S015158       4/19/1990       5/30/1990    0.361396304
Waidla, Tauno                                              S102401     11/27/2001         4/5/2005    3.353867214
Walker, Marvin Pete, Jr.                                   S070934        6/5/1998      12/22/2004    6.548939083
Weaver, Ward Francis, Jr.                                  S115638        5/6/2003       8/26/2009    6.308008214
Webster, Larry Junior                                      S053140       4/23/1996       4/26/1996    0.008213552
Whitt, Charles Edward                                      S051684        2/8/1996      11/12/2003    7.759069131
Williams, Barry Glenn                                      S100932       9/24/2001      12/10/2003    2.209445585
Williams, Dexter Winfred                                   S163977       5/30/2008        8/8/2012    4.191649555
Williams, Keith Daniel                                     S008968       2/14/1989       2/17/1989
Williams, Keith Daniel                                     S053130       4/22/1996       4/26/1996    0.019164956
Williams, Kenneth Derrell                                  S006589       7/26/1988        3/2/1989
Williams, Kenneth Derrell                                  S006916       8/19/1988        3/2/1989    1.133470226
Williams, Michael Allen                                    S024005     11/27/1991        2/11/1992     0.20807666
Williams, Stanley                                          S008526        1/9/1989       1/18/1989
Williams, Stanley                                          S011868        9/1/1989       4/11/1994
Williams, Stanley                                          S039285       4/15/1994       6/21/1995
Williams, Stanley                                          S139526     12/10/2005       12/11/2005    5.817932923
Wilson, Robert Paul                                        S161435        3/3/2008      12/11/2013     5.77412731
Average time each inmate spent in state court                                                                3.18
Source: Habeas Corpus Resource Center




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                                                       PARAGRAPH 17


         Count of all state petitions filed since 1978 (includes cases
         dismissed due to inmate death and initial petitions with
 Overall
         pending amended petitions)                                      1003
 (Closed
and Open
         Count of OSCs issued                                             129
  Cases)
           Count of reference hearings ordered                             57
           Count of closed state habeas cases since 1978 (excludes
           cases dismissed due to inmate death)                           729
 Closed
           Count of OSCs issued in closed cases (excludes cases
 Cases
           dismissed due to inmate death)                                  99 OSCs issued 13.58% in closed cases
  Only
           Count of reference hearing ordered in closed cases              45 Reference hearings ordered 6.17% in closed cases
           Count of open state habeas cases since 1978 (excludes 64
           initial petitions that have not had an amended petition
  Open     filed)                                                         176
  Cases
  Only     Count of OSCs issued in open cases                              27 OSCs have been issued 15.34% in open/pending cases
                                                                              Reference hearings have been ordered 5.68% in
           Count of reference hearing ordered in open cases                10 open/pending cases
Updated as of 6/1/2014
Source: Habeas Corpus Resource Center




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